(1 of 71), Page 1 of 71      Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 1 of 71




                                         No. 24-5064
             __________________________________________________________________

                            IN THE UNITED STATES COURT OF APPEALS
                                    FOR THE NINTH CIRCUIT


                               NANCY FIEDLER, Personal Representative of
                                 the ESTATE OF LISA FIEDLER, et al.,

                                                                Plaintiffs-Appellants,
                                                       v.

                                      UNITED STATES OF AMERICA,

                                                                 Defendant-Appellee.


                               On Appeal from the United States District Court
                                    for the Central District of California
                                  No. 2:21cv7065 – Hon. Percy Anderson


                          BRIEF OF APPELLEE UNITED STATES OF AMERICA


              YAAKOV M. ROTH                                ERIC KAUFMAN-COHEN
                Acting Assistant Attorney                      Attorney in Charge, West Coast
                General, Civil Division                        Office
                                                            JILL DAHLMANN ROSA
              BILAL A. ESSAYLI                                 Senior Trial Counsel
                United States Attorney                      SCOTT PERRYGO
                                                               Trial Attorney
              DAVID M. HARRIS                                  U.S. Department of Justice
                Assistant U.S. Attorney                        Civil Division, Torts Branch
                Chief, Civil Division                          450 Golden Gate Avenue, 7-5395
                                                               San Francisco, California 94102
              GERARD SINZDAK                                   Telephone: (415) 436-6648
                Assistant Director, Appellate Staff            Facsimile: (415) 436-6632
                Civil Division                                 Eric.Kaufman-Cohen@usdoj.gov
                                                               Jill.Rosa@usdoj.gov
                                                               Scott.Perrygo@usdoj.gov
(2 of 71), Page 2 of 71           Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 2 of 71




                                                       TABLE OF CONTENTS

             TABLE OF AUTHORITIES ................................................................................... iv

             INTRODUCTION .....................................................................................................1

             JURISDICTIONAL STATEMENT ..........................................................................3

             ISSUES PRESENTED...............................................................................................3

             STATUTORY AND REGULATORY AUTHORITIES ..........................................4

             STATEMENT OF THE CASE ..................................................................................4

                      A.       Statutory and Regulatory Background ....................................................... 4

                      B.       Internal Coast Guard Guidance ................................................................... 9

                      C.       Local Coast Guard Practice ........................................................................ 13

                      D.       Conception Certification and Inspections ................................................ 13

                      E.       Fire and Sinking of Conception ................................................................. 14

                      F.       Prior Proceedings ......................................................................................... 15

                      G.       District Court Ruling ................................................................................... 16

             SUMMARY OF ARGUMENT ...............................................................................17

             STANDARD OF REVIEW .....................................................................................18

             ARGUMENT ...........................................................................................................18

             I.       The Discretionary Function Exception Bars Plaintiffs’ Suit. ........................18

                      A.       The Challenged Conduct Is the Coast Guard’s Inspection and
                               Certification Policies in their Totality. ..................................................... 20

                      B.       Prong One: The Controlling Statutes, Regulations, and Policies Vest
                               the Coast Guard with Discretion. .............................................................. 21
(3 of 71), Page 3 of 71             Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 3 of 71




                               1.       The Statutes, Regulations, and Policies Demonstrate the Coast
                                        Guard’s Discretion in Conducting Inspections. .......................... 22

                               2.       To the Extent Individual Subchapter T Standards Are Relevant,
                                        None Require the Coast Guard to Conduct its Vessel Inspection
                                        and Certification in a Particular Manner. ..................................... 28

                               3.       Plaintiffs’ Misinterpretations of Coast Guard Testimony Cannot
                                        Override Regulations or Formal Policies. .................................... 33

                      C.       Prong Two: The Coast Guard’s Establishment and Implementation of
                               a Maritime Safety Program Is Susceptible to Political, Social, and
                               Economic Policy Analysis.......................................................................... 38

             II.      The Discretionary Function Exception Is Established Law. .........................47

                      A.       Plaintiffs Offer No Reason They Did Not Raise This Issue Below and
                               Have Thus Waived Their Right to Raise It Now. .................................. 47

                      B.       The SIAA’s Implied Discretionary Function Exception Is the
                               Established Law of This and Every Other Circuit to Consider It. ...... 52

                      C.       Thacker Has No Bearing on the Facts or Issues Presented Here. ....... 54

             III.     Plaintiff’s Procedural Arguments Are Flawed and Unsupported..................55

             CONCLUSION ........................................................................................................57

             Form 17. Statement of Related Cases Pursuant to Circuit Rule 28-2.6...................59

             Form 8. Certificate of Compliance for Briefs ..........................................................60




                                                                       iii
(4 of 71), Page 4 of 71          Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 4 of 71




                                                  TABLE OF AUTHORITIES

                                                                                                                         Page(s)

             Cases

             Bear Medicine v. United States,
                241 F.3d 1208 (9th Cir. 2001) ...................................................................... 43, 44
             Bearce v. United States,
                614 F.2d 556 (7th Cir. 1980) ...............................................................................53
             Begay v. United States,
                768 F.2d 1059 (9th Cir. 1985) .............................................................................44
             Berkovitz v. United States,
                486 U.S. 531 (1988) .............................................................................................21
             Canadian Transp. Co. v. United States,
                663 F.2d 1081 (D.C. Cir. 1980) ...........................................................................53
             Cassens v. St. Louis River Cruise Lines, Inc.,
                44 F.3d 508 (7th Cir. 1995) ...................................... 20, 23, 32, 33, 39, 40, 42, 45
             Chadd v. United States,
                794 F.3d 1104 (9th Cir. 2015) ...................................................................... 38, 56
             Chotin Transp., Inc. v. United States,
                819 F.2d 1342 (6th Cir. 1987) .............................................................................53
             Compagnie Maritime Marfret v. San Juan Bay Pilots Corp.,
                532 F. Supp. 2d 369 (D.P.R. 2008)......................................................................43
             Dalehite v. United States,
                346 U.S. 15 (1953) ...............................................................................................46
             Dearborn v. Mar Ship Operations, Inc.,
                113 F.3d 995 (9th Cir. 1997) ...............................................................................56


                                                                       iv
(5 of 71), Page 5 of 71          Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 5 of 71




             Drake Towing Co. v. Meisner Marine Constr. Co.,
                765 F.2d 1060 (11th Cir. 1985) ...........................................................................53
             Earles v. United States,
                935 F.2d 1028 (9th Cir. 1991) ...................................................... 3, 18, 19, 52, 53
             Family Home & Fin. Ctr., Inc. v. Fed. Home Loan Mortg. Corp.,
                525 F.3d 822 (9th Cir. 2008) ...............................................................................56
             Fed. Housing Admin. v. Burr.,
                309 U.S. 242 (1940). ............................................................................................54
             Fiedler, et al. v. Truth Aquatics, et al,
                No. 21STCV08121 (Cal. Super. Ct. Nov. 5, 2024). ........................................1, 15
             G & G Prods., LLC v. Rusic,
                902 F.3d 940 (9th Cir. 2018) ...............................................................................49
             Gasho v. United States,
                39 F.3d 1420 (9th Cir. 1994) ...............................................................................45
             GATX/Airlog Co. v. United States,
                286 F.3d 1168 (9th Cir. 2002) ................................................................ 18, 21, 45
             Gercey v. United States,
                540 F.2d 536 (1st Cir. 1976) ................................................................................53
             Gonzalez v. United States,
                814 F.3d 1022 (9th Cir. 2016) ...................................................................... 44, 45
             Gonzalez v. United States,
                851 F.3d 538 (5th Cir. 2017) ...............................................................................32
             Graves v. United States,
                872 F.2d 133 (6th Cir. 1989) ...............................................................................53
             Greger v. Barnhart,
                464 F.3d 968 (9th Cir. 2006) ...............................................................................48


                                                                      v
(6 of 71), Page 6 of 71          Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 6 of 71




             Ignatiev v. United States,
                238 F.3d 464 (D.C. Cir. 2001) .............................................................................57
             In re Glacier Bay,
                71 F.3d 1447 (9th Cir. 1995) .................................................................................3
             In re Joint E. & S. Dists. Asbestos Litig.,
                891 F.2d 31 (2d Cir. 1989)............................................................................ 52, 53
             In re Ocean Ranger Sinking Off Newfoundland on Feb. 15, 1982,
                632 F. Supp. 72 (E.D. La. 1985) ..........................................................................25
             Indemnity Ins. Co. of N. Am. v. United States,
                569 F.3d 175 (4th Cir. 2009) ...............................................................................42
             Irving v. United States,
                162 F.3d 154 (1st Cir. 1998) ......................................................................... 34, 39
             Kohl v. United States,
                699 F.3d 935 (6th Cir. 2012) ...............................................................................20
             Lam v. United States,
                979 F.3d 665 (9th Cir. 2020) .................................... 19, 20, 21, 38, 39, 43, 44, 57
             Lebron v. Nat’l R.R. Passenger Corp.,
                513 U.S. 374 (1995). ............................................................................................51
             Line Ins. Co. of N. Am. v. Reichardt,
                591 F.2d 499 (9th Cir. 1979) ...............................................................................47
             Matter of Truth Aquatics, Inc.,
                No. 2:19-CV-07693 (C.D. Cal. Jan. 28, 2021). .....................................................2
             McCoy v. Mass. Inst. of Tech.,
                950 F.2d 13 (1st Cir. 1991) ..................................................................................47
             McMahon v. United States,
                342 U.S. 25 (1951) ...............................................................................................54


                                                                       vi
(7 of 71), Page 7 of 71          Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 7 of 71




             McMellon v. United States,
                387 F.3d 329 (4th Cir. 2004) ...............................................................................53
             Miller v. Gammie,
                335 F.3d 889 (9th Cir. 2003) ...............................................................................53
             Myers v. United States,
                17 F.3d 890 (6th Cir. 1994) .................................................................................27
             Nike, Inc. v. Comercial Iberica de Exclusivas Deportivas, S.A.,
                20 F.3d 987 (9th Cir. 1994) .................................................................................18
             Sabow v. United States,
                93 F.3d 1445 (9th Cir. 1996) ...............................................................................18
             Sea-Land Serv., Inc. v. United States,
                919 F.2d 888 (3d Cir. 1990).................................................................................53
             Smith v. U.S. Coast Guard,
                220 F. Supp. 2d 275 (S.D.N.Y. 2002) .............................................. 24, 25, 26, 42
             Terbush v. United States,
                516 F.3d 1125 (9th Cir. 2008) .............................................................................45
             Tew v. United States,
                86 F.3d 1003 (10th Cir. 1996) ...................................................................... 43, 53
             Thacker v. Tennessee Valley Authority,
                587 U.S. 218 (2019) ................................................................................ 47, 54, 55
             Thompson v. Runnels,
                705 F.3d 1089 (9th Cir. 2013). ................................................................ 48, 49, 50
             U.S. Nat’l Bank of Or. v. Indep. Ins. Agents of Am.,
                508 U.S. 439 (1993) .............................................................................................51
             United States v. Alameda Gateway,
                213 F.3d 1161 (9th Cir. 2009) .............................................................................50


                                                                      vii
(8 of 71), Page 8 of 71            Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 8 of 71




             United States v. Boylan,
                No. 2:22-cr-004820 (C.D. Cal. 2022). .................................................................15
             United States v. Gaubert,
                499 U.S. 315 (1991) .............................................................. 19, 20, 21, 38, 39, 40
             United States v. Mitchell,
                445 U.S. 535 (1980) .............................................................................................18
             United States v. Patrin,
                575 F.2d 708 (9th Cir. 1978) ...............................................................................48
             United States v. S.A. Empresa de Viacao Aerea Rio Grandense (Varig Airlines),
                467 U.S. 797 (1984) .................................................................... 17, 19, 27, 28, 46
             Valdez v. United States,
                56 F.3d 1177 (9th Cir. 1995) ...............................................................................18
             Whisnant v. United States,
                400 F.3d 1177 (9th Cir. 2005) ................................................................ 43, 44, 45
             Wiggins v. United States,
                799 F.2d 962 (5th Cir. 1986) ...............................................................................53
             Wood v. Milyard,
                566 U.S. 463 (2012) .............................................................................................47
             Yee v. Escondido,
                503 U.S. 519 (1992) .............................................................................................48

             Statutes

             6 U.S.C. § 468 ......................................................................................................4, 43
             14 U.S.C. § 101 ........................................................................................................55
             14 U.S.C. § 102 ............................................................................................. 4, 23, 39
             14 U.S.C. § 501 ..........................................................................................................4
             14 U.S.C. § 503 ....................................................................................................4, 46

                                                                        viii
(9 of 71), Page 9 of 71            Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 9 of 71




             14 U.S.C. § 504 ....................................................................................................5, 46
             16 U.S.C. § 831 ........................................................................................................54
             16 U.S.C. § 831c ......................................................................................................54
             18 U.S.C. § 1115 ......................................................................................................15
             28 U.S.C. § 1291 ........................................................................................................3
             28 U.S.C. § 2680 ......................................................................................................19
             46 U.S.C. § 2101 ........................................................................................................6
             46 U.S.C. §§ 3101-4901 ............................................................................................5
             46 U.S.C. §§ 3301-3318 ............................................................................................5
             46 U.S.C. § 3301 ..................................................................................................6, 23
             46 U.S.C. § 3305 ............................................................................... 5, 16, 17, 23, 24
             46 U.S.C. § 3306 ........................................................................................................5
             46 U.S.C. § 3307 ..................................................................................................7, 23
             46 U.S.C. § 3315 ......................................................................................................23
             46 U.S.C. § 30903 ....................................................................................................18

             Rules

             Fed. R. App. P. 4 ........................................................................................................3

             Regulations

             46 C.F.R. § 71.25-15 ................................................................................................33
             46 C.F.R. § 72.05-55 ...............................................................................................36
             46 C.F.R. § 116.423 ................................................................................................36
             46 C.F.R. § 175.01-1-185.30-30 (1995) ....................................................................9
             46 C.F.R. § 175.100 ...................................................................................................6
             46 C.F.R. § 175.112 ...................................................................................... 9, 30, 36
             46 C.F.R. § 175.400 .............................................................................................8, 30

                                                                         ix
(10 of 71), Page 10 of 71        Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 10 of 71




             46 C.F.R. § 175.550 .................................................................................................41
             46 C.F.R. §§ 176.1-176.930.......................................................................................6
             46 C.F.R. § 176.100 .............................................................................................7, 24
             46 C.F.R. § 176.105 ...................................................................................................6
             46 C.F.R. § 176.110 .................................................................................................41
             46 C.F.R. § 176.400 .............................................................................................7, 24
             46 C.F.R. § 176.402 ............................................................................ 6, 7, 22, 24, 34
             46 C.F.R. § 176.404 .............................................................................................7, 24
             46 C.F.R. § 176.500 ........................................................................................ 6, 7, 24
             46 C.F.R. § 176.600 ...................................................................................................7
             46 C.F.R. § 176.610 .................................................................................................37
             46 C.F.R. §§ 176.800-176.840.............................................................................8, 29
             46 C.F.R. § 176.800 ................................................................................ 8, 26, 41, 42
             46 C.F.R. § 176.802 ...................................................................................................7
             46 C.F.R. § 176.804 ...................................................................................................7
             46 C.F.R. § 176.806 ...................................................................................................8
             46 C.F.R. § 176.808 ...............................................................................................7, 8
             46 C.F.R. § 176.810 ...............................................................................................7, 8
             46 C.F.R. § 176.814 ...................................................................................................7
             46 C.F.R. § 176.816 ...................................................................................................8
             46 C.F.R. § 176.830 ........................................................................ 28, 29, 30, 31, 35
             46 C.F.R. § 176.840 ...................................................................................................8
             46 C.F.R. § 177.30-7 (1995) ....................................................................................31
             46 C.F.R. § 177.115 .................................................................................. 8, 9, 35, 36
             46 C.F.R. § 177.405 .................................................................. 28, 29, 30, 31, 35, 36
             46 C.F.R. § 177.410 .......................................................................................... 29, 36
             46 C.F.R. § 182.115 ...................................................................................................9

                                                                        x
(11 of 71), Page 11 of 71        Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 11 of 71




             46 C.F.R. § 183.115 ................................................................................ 9, 30, 36, 37
             46 C.F.R. § 183.420 .................................................................................................37
             46 C.F.R. § 183.430 .................................................................................................37
             46 C.F.R. § 185.410 .......................................................................................... 14, 15

             Other Authorities

             H.R. Rep. No. 98-338, 1983 U.S.C.C.A.N. 924 ........................................................5




                                                                       xi
(12 of 71), Page 12 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 12 of 71




                                              INTRODUCTION

                    This case arises from a fire aboard the dive boat Conception, a 75-foot

             wood-and-fiberglass passenger vessel that docked in Santa Barbara Harbor. During

             the early morning hours of September 2, 2019, a fire broke out while the boat was

             anchored off Santa Cruz Island. The fire engulfed the boat, tragically resulting in

             the deaths of 34 people below deck. Only the captain and four crewmembers

             survived.

                    Much litigation followed. The United States charged the captain of the

             vessel, Jerry Boylan, with “seaman’s manslaughter.” Following a ten-day trial, the

             jury found him guilty. The court sentenced him to four years in prison. Plaintiffs

             here have also sued 72 named defendants in state court, including the vessel’s

             owners, vessel repair entities, and numerous manufacturers of cell phones,

             cameras, lights, dive gear, and other battery-powered devices brought onto the

             vessel by passengers.1 There, they allege that “[t]he fire started after lithium-ion

             batteries ignited on the vessel in the middle of the night.”2 The vessel owner also




                    1
                    See Corrected Fourth Am. Master Compl., ¶ 48, Fiedler, et al. v. Truth
             Aquatics, et al., No. 21STCV08121 (Cal. Super. Ct. Nov. 5, 2024).
                    2
                    See id., Pls.’ Mem. of Points and Authorities in Support of Doe Defs.’ Joint
             Notice of Mot. to Strike Market Share Allegation in Pls.’ Fourth Am. Master
             Compl., 1:4-5 (Cal. Super. Ct. Feb. 3, 2025).

                                                        1
(13 of 71), Page 13 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 13 of 71




             filed a lawsuit seeking to limit its liability; that action is stayed pending the other

             state court claims.3

                    Here, the United States is the sole defendant. No federal employee was

             present at the time of the fire or was otherwise involved in the voyage. Rather,

             Plaintiffs challenge the regulatory oversight activities of the U.S. Coast Guard. In

             this oversight role, the Coast Guard promotes safety in the maritime industry in

             numerous ways, such as by promulgating vessel safety standards, conducting

             vessel inspections, investigating accidents, engaging in education efforts, and

             more. The design and implementation of these maritime safety programs are

             replete with discretionary, policy-based judgments.

                    Plaintiffs allege that the vessel owner violated safety regulations and the

             Coast Guard failed to catch those violations. Yet it was always the responsibility of

             Conception’s owners and operators to comply with the required safety standards

             and to conduct safe maritime operations. The Coast Guard’s regulatory oversight

             role does not make it liable for a private party’s violation of the regulatory scheme.

                    The district court properly dismissed this action under the discretionary

             function exception. The discretionary function exception to the United States’

             waiver of sovereign immunity bars this challenge to the Coast Guard’s oversight



                    3
                    See Order, ECF 179, ¶ 2, Matter of Truth Aquatics, Inc., No. 2:19-cv-
             07693 (C.D. Cal. Jan. 28, 2021).

                                                         2
(14 of 71), Page 14 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 14 of 71




             role because Congress did not intend to impose liability on the United States for

             the type of regulatory enforcement activities at issue in this case. Because the

             United States has not waived its sovereign immunity, the Court lacks subject

             matter jurisdiction, and the dismissal should be affirmed.

                                    JURISDICTIONAL STATEMENT

                    Plaintiffs alleged jurisdiction under the Suits in Admiralty Act (SIAA). 4‒

             ER‒735-82. The district court dismissed for lack of jurisdiction because the case

             falls within the discretionary function exception, 1‒ER‒3-11; Earles v. United

             States, 935 F.2d 1028 (9th Cir. 1991); In re Glacier Bay, 71 F.3d 1447, 1450 (9th

             Cir. 1995) (the discretionary function exception to the waiver of sovereign

             immunity found in the FTCA “applies equally to the Suits in Admiralty Act.”)

                    The district court entered final judgment on August 1, 2024. 1‒ER‒2.

             Plaintiffs timely noticed an appeal on August 14, 2024. 4‒ER‒787-95; Fed. R.

             App. P. 4. This Court has appellate jurisdiction under 28 U.S.C. § 1291.

                                           ISSUES PRESENTED

                    Whether the district court correctly dismissed the complaint for lack of

             subject matter jurisdiction, where the complaint challenges the U.S. Coast Guard’s

             inspection and certification of the private vessel Conception, which later caught

             fire resulting in the deaths of 34 people, because the Coast Guard’s conduct was




                                                       3
(15 of 71), Page 15 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 15 of 71




             discretionary and subject to policy considerations, and thus the discretionary

             function exception to the Suits in Admiralty Act deprived the court of jurisdiction.

                            STATUTORY AND REGULATORY AUTHORITIES

                    The relevant statutory and regulatory authorities appear in Appellants’

             Addendum and the United States’ Supplemental Addendum.

                                        STATEMENT OF THE CASE

                    A.      Statutory and Regulatory Background

                    Congress tasks the Coast Guard with eleven missions, including defense,

             homeland security, law enforcement, environmental protection, and marine safety.

             6 U.S.C. § 468(a). Title 14 of the U.S. Code establishes the Coast Guard’s

             authority, charging it with promoting maritime safety and directing it to

             “promulgate and enforce regulations for the promotion of safety of life and

             property” at sea. 14 U.S.C. § 102(3). Congress granted the head of the Coast Guard

             general powers to “do any and all things necessary to carry out the purposes of this

             title,” 14 U.S.C. § 501(h), and specific powers to “promulgate such regulations and

             orders as he deems appropriate to carry out the provisions of this title or any other

             law applicable to the Coast Guard.” 14 U.S.C. § 503. One of the ways in which the

             Coast Guard promotes maritime safety is by promulgating vessel safety standards,

             14 U.S.C. § 503, as well as inspecting vessels, investigating accidents, licensing




                                                        4
(16 of 71), Page 16 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 16 of 71




             mariners, documenting vessels, administering navigation rules, maintaining aids to

             navigation, and more. 14 U.S.C. § 504(c).

                    The maritime industry is heavily regulated. Over 200 years, Congress has

             enacted many laws applicable to the shipping industry, now gathered in Title 46.

             The purpose of this section is to “make maritime safety and seaman protection law

             easier for the Coast Guard to administer, [and] to make [the law] less cumbersome

             for the maritime community to use.” H.R. Rep. No. 98-338 at 113 (1983),

             reprinted in 1983 U.S.C.C.A.N. 924, 925. The Coast Guard “administers” these

             shipping laws, while the maritime industry “is governed by them.” Id.

                    Title 46, Subtitle II, Part B, §§ 3101-4901 describes Congress’s vessel safety

             scheme. It defines categories of regulated vessels and the contours and general

             goals of vessel inspections. See generally 46 U.S.C. §§ 3301-3318. It empowers

             the Coast Guard to administer this regime by “prescrib[ing] necessary regulations

             to ensure the proper execution of, and to carry out, this part in the most effective

             manner . . . .” 46 U.S.C. § 3306(a). Congress instructs the Coast Guard, in

             exercising this regulatory authority, to balance competing policy goals and

             “interpret regulations and standards under this subtitle . . . to avoid disruption and

             undue expense to industry.” 46 U.S.C. § 3305(d)(1). But these statutes do not

             specifically mandate what regulations the Coast Guard must prescribe, how it must




                                                        5
(17 of 71), Page 17 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 17 of 71




             interpret them, or how, specifically, it must perform inspections beyond those

             broad goals.

                    One such category of regulated vessels is “small passenger vessels.” See 46

             U.S.C. § 3301(8). Small passenger vessels are regulated under 46 C.F.R. Ch. 1,

             Subchapter T, §§ 175.100 to 185.910. Small passenger vessels are a separate

             classification from other “passenger vessels,” which are regulated under 46 C.F.R.

             Subchapter H. 46 U.S.C. § 2101(31), (47) (distinguishing “small passenger vessel”

             from “passenger vessel” by passenger capacity and tonnage limitations); see also

             46 U.S.C. § 3301(4), (8); 46 C.F.R. §§ 175.100, 175.110(a) (2019). Small

             passenger vessels are known as “T-boats.”

                    Subchapter T has two structural components. The first two Parts, 175 and

             176, are informative and procedural. Part 175 describes the purpose, definitions,

             and applicability of Subchapter T. See 46 C.F.R. §§ 175.100-175.900 (2019). Part

             176 defines requirements for certification and describes the general Coast Guard

             inspection process. See 46 C.F.R. §§ 176.1-176.930 (2019). The structure and

             express language of Part 176 shows that these regulations are directed at vessel

             owners and operators. See, e.g., 46 C.F.R. §§ 176.105 (“How to obtain or renew”

             certificate); 176.402(c) (“[t]he owner or managing operator of a vessel shall . . .”;

             176.500(b)(1) (“Your vessel must . . .”; “You must contact . . .”) (2019).




                                                        6
(18 of 71), Page 18 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 18 of 71




                    Part 176 requires that a T-boat must have a Coast Guard Certificate of

             Inspection (“COI”) to carry passengers for hire. 46 C.F.R. § 176.100(a) (2019). To

             obtain a COI, a vessel must first undergo an initial inspection by the Coast Guard.

             46 C.F.R. §§ 176.400-176.402 (2019). After five years, a vessel must be

             reinspected to renew its COI—a “five-year” or “COI” inspection. 46 C.F.R.

             § 176.404 (2019). These inspections are required by statute. 46 U.S.C § 3307(2).

             The Coast Guard additionally requires T-boats to undergo an annual inspection.4

             46 C.F.R. § 176.500(b) (2019). Separately, a T-boat must also have its hull

             inspected out of the water periodically. 46 C.F.R. § 176.600(c) (2019).

                    Part 176 expressly places on owners and operators the duty to comply with

             the substantive requirements of Subchapter T. 46 C.F.R. § 176.402(c) (2019)

             (“[T]he owner or managing operator of a vessel shall ensure that the vessel

             complies with the laws and regulations applicable to the vessel . . .”); see, e.g., id.

             §§ 176.802(a) (“[T]he owner or managing operator shall be prepared to conduct

             tests and have the vessel ready for inspections . . .”), 804, 806, 808(a), 810(a), 814,




                    4
                      Plaintiffs say that Congress mandated this annual inspection by statute.
             Pls.’ Br. 58. This is incorrect. The statute requires annual inspections only for
             “passenger vessel[s]” and “small passenger vessel[s] allowed to carry more than 12
             passengers on a foreign voyage.” 46 U.S.C. § 3307(1). Conception was classified
             in the “small passenger vessel” category—distinct from the “passenger vessel”
             category—but there is no evidence it was authorized to carry passengers on a
             foreign voyage. See COI, 4‒ER‒627.

                                                        7
(19 of 71), Page 19 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 19 of 71




             816 (2019).5 The substantive standards are set forth in the remaining parts of

             Subchapter T, Parts 177-185. Part 176 Subpart H outlines the organization of these

             Parts: construction and arrangement, operation, and various equipment and

             systems. See 46 C.F.R. §§ 176.800-176.840 (2019). The requirements in Parts 177-

             185 for T-boat construction, operation, and equipment are the “requirements” or

             “standards” with which a vessel must comply. These are the standards that the

             Coast Guard inspects a vessels’ compliance with. 46 C.F.R. § 176.800(a) (2019).

             But vessels must comply with the requirements, regardless of whether an inspector

             spots a violation.

                    Not all these standards apply to all T-boats, however. In 1996, the Coast

             Guard revised Subchapter T, adopting “New T” regulations that took effect on

             March 11, 1996. Vessels that existed before 1996—known as “Old T” vessels—are

             generally allowed to follow the “regulations that were applicable to the vessel on

             March 10, 1996.” 46 C.F.R. § 177.115(a) (2019); see id. § 175.400 (defining “new

             vessel” and “existing vessel”) (2019). Because of this “grandfathering” allowance,




                    5
                      Plaintiffs mischaracterize these regulations, patently omitting the “owner
             or managing operator” language to argue that these regulations are directed at
             Coast Guard inspectors. Pls.’ Br. 16 (citing 46 C.F.R. § 176.806(a)). In fact, this
             Subpart says nothing about what Coast Guard inspectors must do other than what
             tests they may require. See, e.g., §§ 176.800(a), 176.808(g), 176.810(d), 176.840
             (2019). Plaintiffs omitted the same language below, which the District Court held
             to be a “mischaracterization[]” of the regulation. 1‒ER‒9.

                                                       8
(20 of 71), Page 20 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 20 of 71




             the substantive requirements that apply to Old T vessels are in the version of

             Subchapter T just before the adoption of New T.6 See 46 C.F.R. §§ 175.01-1–

             185.30-30 (1995). This version of Subchapter T is no longer codified in the current

             C.F.R., but its provisions still govern Old T vessels. “[A]s an alternative,”

             however, “[Old T] vessel[s] may comply with the regulations in [New T].” See,

             e.g., 46 C.F.R. § 177.115(a) (2019). Conception was an Old T vessel.

                    B.      Internal Coast Guard Guidance

                    The Coast Guard’s Marine Safety Manual (the “Manual”) provides

             “information and guidance” for inspectors. Manual Vol. 2 at A1-13, 4‒ER‒574.

             The Manual does not prescribe step-by-step procedures that must be used on every

             inspection. Hodgdon Dep. 103:7‒105:7, 4‒ER‒591‒92 (the Manual “is used as

             guidance” and allows inspectors to make “reasonable, discretionary decisions on

             case-by-case situations”); Hodgdon Dep. 226:14-229:16, 4‒ER‒599-600

             (inspectors have discretion in how they determine compliance with particular

             requirements). The Manual “should be used as a guide . . . without undue

             hampering of independent action and judgment by marine safety personnel.”



                    6
                     Every substantive Part in Subchapter T makes an allowance for “existing
             vessel[s],” with only limited exceptions that prohibit grandfathering. See 46 C.F.R.
             § 175.112 (2019); see, e.g., 46 C.F.R. § 183.115(a) (2019) (specifying two
             exceptions to grandfathering for electrical standards). The New T regulations also
             allow Old T vessels to repair or replace existing equipment without losing their
             grandfathered status. See, e.g., 46 C.F.R. § 182.115(b) (2019).

                                                        9
(21 of 71), Page 21 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 21 of 71




             Manual Vol. 1 at 1-2(1)(B), 4‒ER‒609. The Manual calls for inspectors to use

             their own judgment, as its guidance is “no substitute for experience and sound

             judgment to ensure that good marine practice is being followed.” Manual Vol. 2 at

             A1-13, 4‒ER‒574.

                    Per the Manual, an inspection is intended to reflect a vessel’s “reasonable,

             probable compliance” with the minimum safety standards. Manual Vol. 2 at A1-

             14, 4‒ER‒575. The Manual states that the inspector must be “reasonably satisfied”

             that the vessel’s “degree of compliance with statutes, regulations, and the terms of

             its [COI] warrants continued possession of the COI.” Id. at B2-1, 4‒ER‒580. The

             Manual emphasizes the inspectors’ broad discretion: they “should vary the degree

             of attention they give to individual items as circumstances require.” Id. “The

             inspector has great latitude in the scope of these inspections, which is based on his

             or her evaluation of the vessel’s overall condition.” Id.

                    The Coast Guard also provides inspectors with the T-Boat Inspection Book,

             known as the CG-840-TI or the 840 book, and other job aids. CG-840, 4‒ER‒613.

             These are collections of Subchapter T regulations that inspectors may use. The

             “[r]eferences given are only general guides” and that “[n]ot all items in th[e] book

             are applicable to all vessels.” Id. at 4, 4‒ER‒615. These checklists and job aids are

             merely guides. No policies require that inspectors check all the boxes, follow them




                                                       10
(22 of 71), Page 22 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 22 of 71




             line-by-line, or use them at all. See Hodgdon Dep. 111:23-112:9, 115:7-14, 116:8-

             19, 166:19-167:2, 177:16-21, 179:18-22, 4‒ER‒582-602.

                    One reason for this level of discretion in vessel inspection is the wide

             variation in vessels and their operational needs. Inspectors evaluate each vessel

             individually, to realistically assess its safety given its individual circumstances.

             “When determining inspection requirements and procedures . . . the overall safety

             of a vessel and its operating conditions, such as route, hours of operation, and type

             of operation, should be considered.” Manual Vol. 2 at A1-14–A1-15, 4‒ER‒575-

             76. Inspectors must avoid “unreasonable requirements”; as such, “requirements

             may vary for similar vessels because of different proposed routes or service and

             other circumstances.” Manual Vol. 1 at 3-13, 4‒ER‒610. “The steps required in

             such cases will naturally vary in each case.” Id. at 3-24, 4‒ER‒612.

                    This individualized focus applies especially to Subchapter T, which

             encompasses a wide variety of vessels. T-boats can range from small launches and

             water taxis limited to a small harbor to larger vessels on multi-day ocean voyages

             carrying up to 150 passengers. T-boat inspections “require a realistic appraisal of

             the operational needs of this industry.” Manual Vol. 2 at B4-1, 4‒ER‒581. For this

             reason, inspectors should be aware of “regulations that seem applicable [but] are

             actually inappropriate for the situation or not in the best interest of overall safety.”

             Id. at A2-6, 4‒ER‒577. Inspectors must “take care to ensure that each regulation


                                                        11
(23 of 71), Page 23 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 23 of 71




             being applied is relevant to the vessel and situation.” Id. Inspectors may also accept

             “local practices” that are “safe and appropriate for local conditions, even if they do

             not conform specifically to regulations.” Id. at A2-15, 4‒ER‒578.

                    The Manual also reflects a second reason for discretion: the competing goals

             of promoting safety and facilitating commercial operations. Manual Vol. 2 at A1-

             15, 4‒ER‒576. For example, the Manual instructs the Officer in Charge, Marine

             Inspection (“OCMI,” the senior field officer with final authority to issue a COI) to

             “avoid unreasonable requirements and arbitrary or unreasonable decisions in the

             discharge of the marine safety programs.” Manual Vol. 1 at 3-13, 4‒ER‒610. This

             is because “[i]t is not the Coast Guard’s intent to place unnecessary economic and

             operational burdens upon the maritime industry.” Manual Vol. 2 at A1-14, 4‒ER‒

             575-76. OCMIs should “promote a reasonable level of safety and . . . minimize

             unnecessary expenses on the part of vessel and facility owners and operators.”

             Manual Vol. 1 at 3-13, 4‒ER‒610. For this reason, inspectors should use “[s]ound

             judgment and understanding . . . so that appropriate safety standards are maintained

             without imposing unnecessary or unreasonable standards on vessel and facility

             owners, operators, and crews.” Id. at 3-24, 4‒ER‒612. Inspectors should be

             “capable of balanced decisions with consideration of how they affect commerce,

             public safety, and environmental risk.” Manual Vol. 2 at A7-4, 4‒ER‒579.




                                                       12
(24 of 71), Page 24 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 24 of 71




                    C.      Local Coast Guard Practice

                    Coast Guard inspectors from its Santa Barbara detachment conduct annual

             inspections, with authority to endorse a current COI, allowing a vessel to continue

             operating. Hodgdon Dep. 90:15-20, 174:19-23, 4‒ER‒582-602. During an

             inspection of a vessel, an inspector creates an Activity Summary Report in the

             electronic database system, which serves as the Coast Guard’s official record of the

             inspection. Price Larson Dep. 89:1-17, 4‒ER‒622. As mentioned, in documenting

             an inspection, however, an inspector is not required to “check the[] boxes” on the

             report, nor include details of all items inspected. Id. 88:2-93:3, 4‒ER‒621-23.

             Rather, the report merely reflects when and where a vessel was inspected and

             generally what systems were inspected, relying on inspectors’ training, experience,

             and judgment for how to inspect those systems. Id. 91:6-92:8, 4‒ER‒622. If an

             inspector finds a deficiency, greater detail is added to document that deficiency.

                    D.      Conception Certification and Inspections

                    Built in 1981, Conception was an Old T vessel and was allowed to comply

             with either Old T or New T regulations. COI, 4‒ER‒627-28; Hodgdon Dep. 84:13-

             17, 4‒ER‒589; Caputo Dep. 92:9-22, 4‒ER‒632. The Coast Guard most recently

             issued a COI to Conception on November 14, 2014. COI, 4‒ER‒627-28.

             Conception’s COI required as a “condition of operation” that a member of the

             vessel’s crew be designated as a “roving patrol” at all times when the passengers’



                                                       13
(25 of 71), Page 25 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 25 of 71




             bunks are occupied, as on the night of the casualty. Id. This is also required on all

             T-boats by regulation. 46 C.F.R. § 185.410(a) (2019).

                    In February 2019, about seven months before the fire, Conception

             underwent an annual inspection and hull exam by Coast Guard Chief Warrant

             Officer Daniel Hager, an experienced T-boat inspector. Activity Summary Reports,

             3‒ER‒511-16. The first day of the inspection was on February 13, 2019, while the

             vessel was in dry dock. Id., 3–ER–512, 515. Mr. Hager visited the vessel again on

             March 1, 2019, for a post-drydock check ride. Id. Following the inspection, Mr.

             Hager endorsed the COI, allowing Conception to continue operating; he

             determined that, “[i]n [his] opinion, the vessel is fit for route and service as

             specified on the current COI.” Id.

                    E.      Fire and Sinking of Conception

                  This paragraph’s facts are taken from the First Amended Complaint. ¶¶ 103,

             126-29, 4‒ER‒756, 766-67. In the early morning hours of September 2, 2019, the

             Conception, a dive boat owned and operated by Truth Aquatics, Inc., sailed out of

             Santa Barbara on an overnight dive trip with thirty-three passengers and six

             crewmembers onboard. After a day of diving, the vessel anchored off the Channel

             Islands. That night, a fire broke out somewhere on the vessel. By the time the crew

             awoke from their bunks on the upper deck, fire raged across the main deck. The

             captain abandoned ship, jumping overboard to safety, and directed his crew to


                                                        14
(26 of 71), Page 26 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 26 of 71




             follow suit. Thirty-four people—all thirty-three passengers and one crewmember—

             were trapped in the bunk room directly below the fire. The vessel burned to the

             waterline before the remaining hull sank. All thirty-four persons aboard perished.

                    Although the cause of the fire remains unknown, its tragic outcome was the

             result of Captain Boylan’s failure to assign a nighttime roving patrol to detect

             emergencies. He was convicted of violating 18 U.S.C. § 1115 (“seaman’s

             manslaughter”). United States v. Jerry Boylan, Case No. 2:22-cr-004820 (C.D.

             Cal.); see also id., Indictment (Oct. 18, 2022) (failure to maintain a night watch or

             roving patrol, despite his duty to do so under 46 C.F.R. § 185.410 and as set forth

             in the COI posted onboard Conception).

                    F.      Prior Proceedings

                  In March 2021, Plaintiffs sued multiple defendants in state court; that action is

             still pending. See Fiedler, et al. v. Truth Aquatics, et al., Case No. 21STCV08121,

             (Cal. Super. Ct.). Plaintiffs sued the United States in September 2021. This case

             was stayed for a period of time due to the criminal proceedings against Captain

             Boylan. See generally Supp. Joint R. 26(f) Rep. (Sept. 19, 2022), 4‒ER‒678-90. In

             October 2022, the district judge opened discovery in this case limited to the

             application of the discretionary function exception, contemplating a motion for

             summary judgment on the issue. Order (Oct. 14, 2022), 4‒ER‒677; Order (Dec. 1,

             2022), 4‒ER‒663. Discovery was open until the end of May 2023. Order, (Feb. 28,


                                                       15
(27 of 71), Page 27 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 27 of 71




             2023), SER–22-24. The United States later clarified, by stipulation with Plaintiffs,

             that a motion to dismiss was the proper procedure to challenge subject matter

             jurisdiction. Joint Admin. Mot., SER–14-21; Stipulation, 4‒ER‒654-60. The

             district court granted the United States leave to file a motion to dismiss. Order,

             SER–11-13. Following further delays to coordinate this case with other pending

             cases, see generally SER–3-10, the United States filed the motion to dismiss that is

             the subject of this appeal. 3–ER–517-63.

                    G.      District Court Ruling

                    The district court granted the United States’ motion to dismiss. 1‒ER‒3-11.

             It ruled that the applicable statutes, regulations, and policies governing the Coast

             Guard’s inspection of passenger vessels vested both the Coast Guard and its

             inspectors with discretion. 1‒ER‒8. The court further ruled that the discretion was

             of the type meant to be protected from suit against the United States. 1‒ER‒8-11.

             In particular, the court held that both the governing statute, 46 U.S.C. § 3305(d)(1),

             and internal Coast Guard guidance encourage inspectors to use judgment and

             discretion. 1‒ER‒8. The court quoted at length the Marine Safety Manual, which

             grants an inspector great latitude in the scope of an inspection. 1‒ER‒8-9. With

             respect to vessel safety regulations, the court ruled that “the relevant regulations

             actually impose obligations on vessel owners and grant to the Coast Guard and its

             inspectors considerable discretion when conducting vessel inspections.” 1‒ER‒9.


                                                       16
(28 of 71), Page 28 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 28 of 71




             The court found that Plaintiffs mischaracterized both the regulations and the

             testimony of the Coast Guard’s Rule 30(b)(6) deponent. 1‒ER‒9-10. The court

             agreed that the duty to comply with the regulations lies on vessel owners/operators,

             while the Coast Guard has discretion as to how to inspect vessels regarding this

             compliance. Id.

                    The district court cited relevant Ninth Circuit precedent, 1‒ER‒6-8, 10, in

             addition to the cases of Cassens, Smith, and Varig Airlines. 1‒ER‒10-11.

                                       SUMMARY OF ARGUMENT

                    The district court correctly dismissed this action against the United States.

             Plaintiffs failed to establish that the Coast Guard had a mandate to catch any and

             all violations of safety regulations by the owner/operator. To the contrary, the

             statutory and regulatory scheme granted discretion to the Coast Guard in its

             oversight of the private vessel and operator. This type of discretion is the classic

             “discretionary function” explained in the seminal Varig Airlines case: “[W]hatever

             else the discretionary function exception may include, it plainly was intended to

             encompass the discretionary acts of the Government acting in its role as a regulator

             of the conduct of private individuals.” United States v. S.A. Empresa de Viacao

             Aerea Rio Grandense (Varig Airlines), 467 U.S. 797, 813-14 (1984).

                    Plaintiffs’ new, last-ditch argument that the discretionary function exception

             does not apply to claims brought under the SIAA is untimely and contrary to the


                                                       17
(29 of 71), Page 29 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 29 of 71




             law of this Circuit. The decision in Earles v. United States, 935 F.2d 1028, 1032

             (9th Cir. 1991), holding that the discretionary function exception applies to the

             SIAA, remains the law and governs this action.

                                         STANDARD OF REVIEW

                    “The existence of subject matter jurisdiction is a question of law reviewed

             de novo.” Sabow v. United States, 93 F.3d 1445, 1450 (9th Cir. 1996) (citing

             Valdez v. United States, 56 F.3d 1177, 1179 (9th Cir. 1995)). However, “[t]he

             district court’s factual findings on all jurisdictional issues must be accepted unless

             clearly erroneous.” Id. (citing Nike, Inc. v. Comercial Iberica de Exclusivas

             Deportivas, S.A., 20 F.3d 987, 990 (9th Cir. 1994)). The government bears the

             burden of proving that the discretionary function exception applies. GATX/Airlog

             Co. v. United States, 286 F.3d 1168, 1174 (9th Cir. 2002).

                                                 ARGUMENT

             I.     The Discretionary Function Exception Bars Plaintiffs’ Suit.
                    Standard of Law: The United States is immune from suit unless it expressly

             waives its sovereign immunity. Absent a waiver, federal courts lack subject matter

             jurisdiction. United States v. Mitchell, 445 U.S. 535, 538 (1980). Plaintiffs bring

             this action under the SIAA, 46 U.S.C. § 30903. The SIAA does not waive

             sovereign immunity for discretionary, policy-based conduct by an employee or

             agency of the United States. This exception is the same as that explicitly stated in



                                                       18
(30 of 71), Page 30 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 30 of 71




             the Federal Tort Claims Act, 28 U.S.C. § 2680(a). Earles, 935 F.2d at 1032. Courts

             lack subject matter jurisdiction over tort claims challenging such conduct. United

             States v. Gaubert, 499 U.S. 315 (1991). The exception is intended to protect

             discretionary decisions that, if exposed to tort liability, could “seriously handicap

             efficient government operations.” Varig Airlines, 467 U.S. at 814. It reflects

             Congress’s intent to “prevent judicial ‘second guessing’ of legislative and

             administrative decisions grounded in social, economic, and political policy . . . .”

             Gaubert, 499 U.S. at 323 (quoting Varig Airlines, 467 U.S. at 813).

                    Negligence is not considered in the analysis. The exception applies “whether

             or not the discretion involved be abused.” Lam v. United States, 979 F.3d 665, 672

             (9th Cir. 2020) (quoting 28 U.S.C. § 2680(a)). As this Circuit explained, “even if

             the employee’s discretionary act is negligent, the district court should dismiss

             plaintiff’s case.” Id. at 673.

                    To decide a question of discretionary function, the Court first defines the

             challenged conduct. Gaubert, 499 U.S. at 322. Next, the Court applies a two-step

             analysis, determining: (1) whether the challenged act involved an element of

             judgment or choice, and (2) whether the act is susceptible to policy considerations

             – i.e., was the conduct the type that the exception was designed to shield. Lam, 979

             F.3d at 673-74.




                                                       19
(31 of 71), Page 31 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 31 of 71




                    A.      The Challenged Conduct Is the Coast Guard’s Inspection and
                            Certification Policies in their Totality.

                    The “crucial” threshold inquiry in the discretionary function analysis is

             defining the scope of conduct at issue. Kohl v. United States, 699 F.3d 935, 940

             (6th Cir. 2012); see also Gaubert, 499 U.S. at 322. The analysis is not limited to

             the individual allegedly negligent act, but the type of conduct involved. In Lam, the

             plaintiffs challenged an agency’s management of hazards in a park after they were

             injured by a falling tree. 979 F.3d at 670, 675. The Ninth Circuit held that the

             scope of the inquiry was not the management of that specific tree, but rather “all

             the relevant policies in their totality and how they fit together to determine if they

             are discretionary or mandatory.” Id. at 676.

                    The Seventh Circuit defined the scope of the challenged conduct in a case

             involving Coast Guard vessel inspections, like this one. Cassens v. St. Louis River

             Cruise Lines, Inc., 44 F.3d 508 (7th Cir. 1995). There, the court considered a claim

             that the Coast Guard was negligent in inspecting and certificating a passenger

             vessel. Id. at 515. The court rejected plaintiffs’ narrow framing of the issue as

             whether the inspector had discretion to miss or ignore a missing handrail. Rather,

             the question was whether the Coast Guard “was required by statute or regulation to

             follow a specific course of action when inspecting the ship as a whole,” or whether

             it had “the discretion to formulate and conduct a specific inspection procedure.”




                                                       20
(32 of 71), Page 32 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 32 of 71




             Id.; see also Gaubert, 499 U.S. at 324-25, 329, 331-32 (purpose of controlling

             statute defines challenged conduct).

                    In the present case, Plaintiffs allege that the Coast Guard negligently

             inspected and certificated Conception, despite the vessel’s alleged violations. 4‒

             ER‒768-69, Am. Compl. ¶ 132. Plaintiffs essentially frame the issue as the

             inspectors’ alleged negligence in failing to spot violations in inspections prior to

             the fire—just as the Cassens plaintiffs alleged that the Coast Guard inspector failed

             to spot the missing handrail. But the proper scope of the inquiry is whether the

             applicable statutes, regulations, and policies allow inspectors discretion in how to

             inspect vessels and issue certificates. As demonstrated below, they do.

                    B.      Prong One: The Controlling Statutes, Regulations, and Policies
                            Vest the Coast Guard with Discretion.

                    The first prong examines whether the challenged conduct “involves an

             element of judgment or choice.” Berkovitz v. United States, 486 U.S. 531, 536

             (1988). This prong examines only the statutes, regulations, or official policies

             governing the type of conduct, not how individual employees carried out those

             acts. See generally GATX, 286 F.3d at 1174-75. “[A]ll that matters is that there

             was, in fact, discretion.” Lam, 979 F.3d at 672 n.3. The Court considers “all the

             relevant policies in their totality and how they fit together to determine if they are

             discretionary or mandatory.” Lam, 979 F.3d at 676; see also Gaubert, 499 U.S. at

             422; Berkovitz, 486 U.S. at 539.

                                                       21
(33 of 71), Page 33 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 33 of 71




                            1.   The Statutes, Regulations, and Policies Demonstrate the
                                 Coast Guard’s Discretion in Conducting Inspections.

                    Through the relevant statutes in Titles 14 and 46, Congress established a

             regime of vessel safety and compliance and vested discretion in the Coast Guard in

             how to implement and enforce this regime. This regime imposes safety

             requirements on vessels and places the duty on vessels to comply with the

             requirements. A Coast Guard inspection merely checks a vessel’s compliance with

             its duty to meet these standards. Neither the regulations nor Coast Guard guidance

             divest Coast Guard inspectors of their discretion to determine the scope of their

             inspections and whether to issue Certificates of Inspection.

                    Plaintiffs fail to identify any specific mandates requiring the Coast Guard to

             conduct its vessel inspections in a particular way.7 Rather, Plaintiffs allege the

             vessel violated certain regulations that the Coast Guard failed to catch. Yet the

             regulations impose a duty of compliance on the vessels, not on the Coast Guard.

             “The owner or managing operator of a vessel shall ensure that the vessel complies

             with the laws and regulations applicable to the vessel and that the vessel is

             otherwise satisfactory for the intended service.” 46 C.F.R. § 176.402(c) (2019).

             The Coast Guard must rely on “the trust [it] place[s] in a licensed master” to


                    7
                     Plaintiffs implicitly acknowledge the Coast Guard’s discretion in the
             Amended Complaint, alleging that Coast Guard employees “[a]bused their
             discretion.” 4‒ER‒768-69, Am. Compl. ¶ 132.


                                                       22
(34 of 71), Page 34 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 34 of 71




             uphold their duty and follow the regulations, as well as “the responsibility of the

             master to report whether or not they can in fact comply with those requirements.”

             Caputo Dep. 114:1-11, 4‒ER‒634; see also Price Larson Dep. 95:16-97:11, 4‒ER‒

             623-24 (Coast Guard must “trust that the licensed mariner is going to operate the

             vessel within the confines of” the regulations and “the bounds of their license”).

             Licensed mariners are required by statute to assist Coast Guard inspectors by

             “point[ing] out defects and imperfections known to the individual in matters

             subject to regulations and inspection.” 46 U.S.C. § 3315(a).

                    Both the statute and the regulations are “devoid of specific directives”;

             neither prescribe “specific steps for inspectors to follow in conducting their

             inspection.” Cassens, 44 F.3d at 513-14. The circuit court in Cassens found it

             irrelevant that regulations prescribe hundreds of highly specific requirements with

             which vessels must comply because the inspection procedure itself involves the

             type of discretion protected from suit. Id. at 513.

                    Plaintiffs claim that a single “shall” in the enabling statutes “eliminat[es] any

             discretion” from the entire vessel safety regulatory scheme. The only mandate they

             identify is that the Coast Guard “shall” promulgate and enforce marine safety

             regulations. Pls.’ Br. 49 (quoting 14 U.S.C. § 102). The Coast Guard has done that.

             See 46 C.F.R. Subchapter T. Congress further specifies only the broad contours

             and goals of vessel inspections. See 46 U.S.C. §§ 3301, 3305, 3307. Inspections


                                                       23
(35 of 71), Page 35 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 35 of 71




             are intended to determine that a vessel is of a structure “suitable” for the service in

             which it is to be employed; is equipped with “proper” appliances for lifesaving,

             fire prevention, and firefighting; is in a condition to be operated with safety to life

             and property; and complies with applicable laws and regulations. 46 U.S.C.

             § 3305(a)(1). Beyond that, Congress has not mandated what regulations the Coast

             Guard must promulgate, nor how, specifically, it must enforce them.

                    The Coast Guard’s regulations, in turn, vest discretion in individual

             inspectors, using language such as “may be checked,” 46 C.F.R. § 176.402(b)

             (2019), “may include,” id. § 176.402(c) (2019), and “normally includes,” id.

             § 176.404(a) (2019)). The regulation about annual spot checks, for example, leaves

             it to the inspector to determine the scope of the inspection – as well as discretion to

             change the scope of the inspection depending on the inspector’s findings. 46

             C.F.R. § 176.500(b)(1)(ii) (2019). These regulations neither mandate any specific

             inspection procedures nor require inspectors to examine all or any particular

             requirements out of the many hundreds that Subchapter T imposes on vessels. See

             generally Smith v. U.S. Coast Guard, 220 F. Supp. 2d 275, 280-81 (S.D.N.Y.

             2002) (citing 46 C.F.R. § 176.100, 46 C.F.R. §176.400(a), and 46 U.S.C.

             § 3305(a)); see also Hodgdon Dep. 166:17-168:16, 4‒ER‒595; Price Larson Dep.

             49:7-50:3, 4‒ER‒620.




                                                        24
(36 of 71), Page 36 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 36 of 71




                    In a similar case, passengers who were injured when a water taxi capsized

             sued the United States. They alleged the Coast Guard negligently inspected and

             certificated the vessel, which was later found to violate certain regulations. Smith,

             220 F. Supp. 2d at 277. The district court granted the United States’ motion to

             dismiss based on the discretionary function exception. The court found that

             although Subchapter T imposes “highly detailed” requirements for vessels, the

             regulations “do not specify the means by which the Coast Guard inspector is to

             determine compliance” with these standards. Id. at 281. While the regulations and

             statutes require the Coast Guard to do an inspection before issuing a COI, neither

             mandate any “specific tests or inspections prior to issuing a COI.” Id. at 280-81.

             Instead, they leave it “to the discretion of the Coast Guard inspector to determine

             which inspections to conduct.” Id. at 281 n.8. The court rejected plaintiffs’

             argument that Subchapter T “required” an inspector “to determine compliance with

             each of these regulations before issuing a COI.” Id. Accord In re Ocean Ranger

             Sinking Off Newfoundland on Feb. 15, 1982, 632 F. Supp. 72, 75-76 (E.D. La.

             1985) (ruling that claims of Coast Guard negligence in inspection and certification

             of vessel fell within the discretionary function exception as defined by Varig

             Airlines).

                    As the Smith court found, the Subchapter T regulations and Coast Guard

             policies expressly allow Coast Guard inspectors to determine which requirements


                                                       25
(37 of 71), Page 37 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 37 of 71




             they will impose on a vessel. The Coast Guard has no duty to ensure compliance

             with every regulation before issuing a COI but may exercise discretion to decide

             what to inspect on any given vessel. Smith, 220 F. Supp. 2d at 282 (citing 46

             C.F.R. § 176.800(b)); see also Manual Vol. 2 at A1-14, B2-1, 4‒ER‒575, 580. A

             COI is not a guarantee that a vessel complies with every regulation; it merely

             attests to the “reasonable probability” that a vessel complies with minimum safety

             standards. Manual Vol. 2 at A1-14, 4‒ER‒575.

                    Coast Guard inspectors are expressly given discretion to focus on each

             vessel’s particular circumstances. Part 176 allows that “[i]n the application of

             inspection standards due consideration must be given to the hazards involved in the

             operation permitted by a vessel’s Certificate of Inspection.” 46 C.F.R.

             § 176.800(b) (2019). The requirements the Coast Guard places on a vessel “may

             vary in accordance with the vessel’s area of operation or any other operational

             restrictions or limitations.” Id. Citing this section, the Smith court dismissed the

             claim that if a T-boat failed to comply with any regulation, the Coast Guard was

             liable. Rather, Coast Guard inspectors “are given discretion to vary the application

             of inspection standards.” 220 F. Supp. 2d at 282 (citing 46 C.F.R § 176.800(b)).

             Inspectors are given “great latitude” to “vary the degree of attention they give to

             individual [regulations] as circumstances require . . . based on his or her evaluation

             of the vessel’s overall condition.” Manual Vol. 2 at B2-1, 4‒ER‒580; see also


                                                       26
(38 of 71), Page 38 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 38 of 71




             Myers v. United States, 17 F.3d 890, 901 (6th Cir. 1994) (United States is not “an

             insurer for every private party’s violation of a federal regulat[ion]”).

                    The situation here is like Varig Airlines, where an airliner crashed following

             a fire that began in a trash receptacle. Varig Airlines, 467 U.S. at 814. The

             plaintiffs argued that the FAA negligently certified the aircraft despite its violation

             of a safety regulation requiring that trash receptacles be fire-resistant and

             incorporate features for containing fires. Id. at 801; 2‒ER‒104-12 (Varig Airlines

             complaint excerpt, alleging inspection should have caught flammable trash

             receptacle design). The Supreme Court found the FAA’s inspection program—a

             “spot check” program, not a comprehensive compliance review—was discretionary

             even without any evidence that the inspector actually checked the trash receptacle.

             Varig Airlines, 467 U.S. at 814, 818-19. The Court concluded that “the FAA’s

             alleged negligence in failing to check certain specific items in the course of

             certificating a particular aircraft falls squarely within the discretionary function

             exception.” Id. at 820.

                    That reasoning applies equally to Coast Guard vessel inspections. Plaintiffs

             focus on the safety regulations requiring vessels to use non-combustible materials

             for trash receptacles and chairs. See Pls.’ Br. 13. But nothing in the statutes,

             regulations, or any formal Coast Guard policy requires inspectors to examine those

             requirements, out of hundreds of applicable requirements. Rather, as with the


                                                        27
(39 of 71), Page 39 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 39 of 71




             FAA’s “spot check” system in Varig Airlines, inspectors have discretion to

             determine which specific regulations to focus on and what items to inspect.

                            2.   To the Extent Individual Subchapter T Standards Are
                                 Relevant, None Require the Coast Guard to Conduct its
                                 Vessel Inspection and Certification in a Particular Manner.

                    The Coast Guard’s inspection policies and regulations in their totality allow

             ample discretion for inspectors to determine the scope and focus of their

             inspections. To the extent any individual Subchapter T regulation is relevant to the

             discretionary function question, none identified by Plaintiffs defeats the exception.

                    In their Complaint, Plaintiffs allege the United States is liable because the

             Coast Guard certificated the Conception despite issues with the vessel’s “electrical

             wiring and systems, her fire detection and suppression systems, her passenger-

             accommodation escape hatch, her watch logs and training logs.” 4‒ER‒768-69,

             Am. Compl. ¶ 132. In discovery, however, including in depositions of all six Coast

             Guard witnesses, Plaintiffs pursued a more specific theory that the fire started in a

             trash receptacle onboard the vessel.8 They focused questions on two New T

             regulations, 46 C.F.R. §§ 176.830(a) and 177.405(f). The former directs vessel

             owners generally that after each inspection, “all observed unsafe practices, fire


                    8
                     When it better suits them, Plaintiffs claim that the fire started elsewhere.
             They alleged earlier here that the fire was caused by lithium-ion batteries or other
             electrical equipment plugged in to the ship’s outlets. See 4‒ER‒767, ¶ 128. In their
             state court action, Plaintiffs allege unequivocally that the fire was ignited by
             lithium-ion batteries manufactured by defendants. See note 2, supra.

                                                       28
(40 of 71), Page 40 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 40 of 71




             hazards, and other hazardous situations must be corrected and all required guards

             and protective devices must be in satisfactory condition.” 46 C.F.R. § 176.830(a)

             (2019). The latter requires that “[u]nless other means are provided to ensure that a

             potential waste receptacle fire would be limited to the receptacle, waste receptacles

             must be constructed of noncombustible materials with no openings in the sides or

             bottom.” 46 C.F.R. § 177.405(f) (2019). Plaintiffs point to mandatory-sounding

             language in these regulations to suggest that they bind Coast Guard inspectors. But

             these regulations establish no mandatory course of conduct for an inspector. No

             statute or regulation requires inspectors to ensure compliance with those particular

             regulations out of all requirements in Subchapter T.

                    More specifically, § 176.830(a) is not a specific mandate on Coast Guard

             inspectors. First, both the structure of Part 176 and language throughout that part

             make clear that it speaks to owners/operators, not inspectors. See 46 C.F.R.

             §§ 176.800-840 (2019). Second, this generic, catch-all language falls short of

             imposing a specific mandate. It does not define what might constitute “unsafe

             practices” or “fire hazards.” Rather, like the other general duties Part 176 imposes

             on owners/operators, it is the substantive standards in Parts 177-185 that define

             hazards and violations for specific equipment and systems.9 In its proper context,


                    9
                     Here, for example, § 177.405(f) defines what may constitute a hazardous
             trash can; for furnishings, it is § 177.410. And an entire Part, 183, defines
             numerous electrical requirements and hazards.

                                                      29
(41 of 71), Page 41 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 41 of 71




             § 176.830(a) directs that if something is observed and deemed to be a hazard, per

             those standards, the owner/operator must correct it.

                    Furthermore, a plastic trash can is not necessarily a fire hazard per

             § 176.830(a).10 The only standard governing trash cans is § 177.405(f). This

             regulation does not prohibit non-steel receptacles; it requires that they be made of

             “noncombustible materials,” but only applies “[u]nless other means are provided”

             to limit a potential fire. 46 C.F.R. § 177.405(f) (2019) (emphasis added). It does

             not define acceptable “other means,” leaving it to inspectors’ discretion whether a

             trash can is a fire hazard.11 For this reason, Commander Stephanie Hodgdon, Chief

             of the Coast Guard’s Domestic Vessel Compliance Division, testified that the mere

             existence of a plastic trash can was not an “obvious violation” of § 177.405(f),

             because “the first part of the regulation . . . says ‘unless other means are

             provided.’” Hodgdon Dep. 232:7-233:8, 4‒ER‒600-01; see also Caputo Dep.

             104:4-12, 4‒ER‒633.



                    10
                      To the extent Plaintiffs cite New T regulations, the New T standards were
             not mandatory for Conception. Neither § 177.405 nor § 176.830 are specified as
             exceptions to the general rule for grandfathering, which are expressly stated in
             each part. See 46 C.F.R. § 175.112 (2019) (exceptions to grandfathering for
             “existing” [Old T] vessels are specified in each part); cf. 46 C.F.R. § 183.115(a),
             (b) (2019) (specifying two Part 183 regulations excluded from grandfathering).
                    11
                      “Noncombustible material” includes, inter alia, any “other standard
             specified by the Commandant,” leaving it to the discretion of the Coast Guard what
             is permissible in any given circumstance. 46 C.F.R. § 175.400 (2019).

                                                        30
(42 of 71), Page 42 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 42 of 71




                    Conception, an Old T vessel, was not required to comply with § 177.405(f),

             a New T regulation; rather, it could choose to comply with either New T or Old T.

             Old T regulates trash cans only in certain locations. It requires “[c]overed metal

             trash containers,” only in “areas located below the main deck,” and does not

             regulate trash cans anywhere else. 46 C.F.R. § 177.30-7(d), (a) (1995). Thus,

             Conception was not prohibited from having the plastic trash cans Plaintiffs suggest

             she carried on her main deck.

                    For these reasons, there is no mandatory duty for an inspector to identify all

             plastic trash cans on a T-boat, nor to determine that all plastic receptacles are fire

             hazards and require corrective action. Rather, an inspector has discretion to

             observe a plastic trash can and deem it not a fire hazard or to simply not inspect

             trash cans. Only if the inspector (1) inspected a trash can, and (2) determined it to

             be, in his discretion, a fire hazard, could he arguably have a nondiscretionary duty

             under § 176.830(a) to require corrective action.12


                    12
                       Commander Hodgdon testified that the regulations leave discretion to
             inspectors about what requirements to inspect and how to inspect them. For
             example, she testified that pursuant to § 176.830(a), “a non-steel trash can” could
             be a fire hazard. Hodgdon Dep. 229:24-230:24, 4‒ER‒600. If an inspector
             observed such a trash can and deemed it to be a fire hazard, he would be required
             to at least note it as a deficiency and require corrective action. Id. 231:4-8. Implicit
             in these questions—and apparent on the face of these regulations—is that this
             requirement applies only if a fire hazard is “observed.” See Hodgdon Dep. 230:11-
             16, 4‒ER‒600 (“Q . . . all observed fire hazards must be corrected? A. Yes.”)
             (emphasis added), 231:4-8 (“Q . . . w[h]ere such a fire hazard, a non-steel trash can
             is observed . . . the inspector should take action . . .”) (emphasis added).

                                                        31
(43 of 71), Page 43 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 43 of 71




                    The Cassens court discussed this very hypothetical, where an inspector

             identifies a violation but fails to require the vessel to correct it. The court

             distinguished this from situations where, as happened here, the inspector simply

             does not inspect a particular requirement, or where he inspects something, but does

             not find a violation. Cassens, 44 F.3d at 515; see also Gonzalez v. United States,

             851 F.3d 538, 546-47 (5th Cir. 2017) (where policy required agency to conduct

             inspections but did not specify precisely how, it was irrelevant to the discretionary

             function exception analysis that the employee could not recall whether he

             inspected a specific requirement, because the policy as a whole allowed “room for

             choice” in deciding what to inspect).13

                    The United States acknowledges that not every aspect of a vessel inspection

             is necessarily discretionary, without exception. In the present case, however, no

             specific mandate required the inspector to “catch” any of the violations that


                    13
                       Plaintiffs mischaracterize the testimony of Chief Warrant Officer Hager to
             mirror the Cassens hypothetical. They claim that he “admitted” plastic chairs were
             “obvious fire hazards,” Pls.’ Br. 10, and “recalled seeing the plastic garden chairs,
             knew they were potential fire hazards, yet failed to write them up.” Id. at 14. Mr.
             Hager said none of this. Plaintiffs asked whether plastic chairs were “potentially a
             fire hazard”; Mr. Hager responded by referring only generally to a “regulation that
             speaks to . . . furnishings,” and gave no answer whether “a polypropylene chair”
             might be a fire hazard under that regulation. Hager Dep. 93:25-94:15, 3‒ER‒389-
             90. He remembered few specifics about his 2019 inspection of Conception; even
             after watching a video of the vessel, he remembered only “generally what the
             vessel looked like.” Hager Dep. 62:20-63:17, 3‒ER‒384-86. Plaintiffs never asked
             him whether he even saw plastic chairs, much less whether he determined them to
             be a fire hazard.

                                                        32
(44 of 71), Page 44 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 44 of 71




             Plaintiffs allege. By contrast, certain Coast Guard regulations do prescribe specific,

             mandatory procedures. The Seventh Circuit in Cassens recognized that “when

             Coast Guard inspectors are required to follow specific inspection procedures, the

             regulations carefully specify those procedures.” 44 F.3d at 514. The Cassens court

             cited a regulation in 46 C.F.R. Subchapter H, a more rigorous set of regulations

             governing larger passenger vessels, requiring that “[a]t each annual inspection, the

             inspector shall conduct the following tests” followed by “detailed provisions” and

             step-by-step procedures for testing lifeboats. Id. (emphasis added) (quoting 46

             C.F.R. § 71.25-15). “The obvious implication is that where such specific directives

             are absent, it is within the individual inspector’s discretion how to conduct the

             inspection.” Id. Just like Cassens, Plaintiffs identify no mandatory, step-by-step

             inspection procedures here.

                            3.   Plaintiffs’ Misinterpretations of Coast Guard Testimony
                                 Cannot Override Regulations or Formal Policies.

                    Plaintiffs argue that the district court erred in its interpretation of Coast

             Guard testimony, claiming it ignored Commander Hodgdon’s testimony about

             inspectors’ duties. Pls.’ Br. 54-56, 71-72. To the contrary, the district court

             considered and declined to accept these arguments: “Plaintiffs similarly

             mischaracterize the testimony of the Coast Guard’s 30(b)(6) deponent . . . .” 1‒

             ER‒9-10. Furthermore, resorting to witness testimony is not a substitute for the

             “statutes, regulations, and agency guidelines” that are the “competent sources” for

                                                         33
(45 of 71), Page 45 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 45 of 71




             the first step analysis. Irving v. United States, 162 F.3d 154, 166 (1st Cir. 1998) (en

             banc) (anecdotal testimony is a “last ditch resort” to analyze relevant policies).

                    A thorough retelling of Plaintiffs’ mischaracterization can be found in the

             United States’ reply memorandum, 2‒ER‒92-95. In brief, Plaintiffs’ questions did

             not pinpoint who was bound by the regulatory mandates at issue. No one testified

             that the regulations placed a mandate on the Coast Guard. See 2‒ER‒255-56. The

             regulations themselves make clear that the vessel owner/operator has the ultimate

             duty to ensure compliance. (i.e., to correct unsafe practices and fire hazards). See

             46 C.F.R. § 176.402(c). Further, Plaintiffs’ hypothetical questions assumed an

             inspector actually observed a particular regulatory violation. Hodgdon Dep. at

             325:13-22, 2‒ER‒259 (“for the purposes of my hypothetical right now, I’m asking

             you to assume that . . . .”). There is no evidence here that any inspector saw any

             deficiency that, in his discretion, constituted a hazard to the vessel. Inspectors

             make numerous decisions and judgment calls during an inspection; they cannot

             examine every part of every vessel at every inspection. Doing so would be contrary

             to Congress’s instruction that the Coast Guard balance safety with the need to

             facilitate and safeguard commerce.

                    Additionally, Plaintiffs’ questions failed to distinguish between Old T and

             New T standards. But Conception was not required to comply with New T

             regulations except for a specified few excluded from grandfathering. Plaintiffs


                                                       34
(46 of 71), Page 46 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 46 of 71




             asked Commander Hodgdon about two specific New T regulations they cited by

             number: 46 C.F.R. § 176.830(a) and 46 C.F.R. § 177.405, and she testified about

             those regulations specifically. Pls.’ Br. 12-13. They did not ask whether those two

             New T regulations would have applied to Conception; even though she also

             testified that Conception “would have been inspected under Old T.” Hodgdon Dep.

             at 84:16-17, 4‒ER‒589. Commander Hodgdon’s testimony cannot create a

             mandate where one does not otherwise exist.14

                    Plaintiffs further argue that New T and Old T regulations are nearly the same

             because both require a vessel owner/operator to correct unsafe practices and

             hazards observed on an inspection. Pls.’ Br. 15, citing 46 C.F.R. § 176.830(a). But,

             as explained above, this regulation is directed at owners and operators, like the rest

             of Part 176, not inspectors. Further, it falls well short of being a specific mandate

             because it does not define what may be such a hazard; that is the purpose of the

             hundreds of substantive regulations under each category of Parts 177-185.




                    14
                      The same goes for Captain Robert Compher’s testimony, which Plaintiffs
             argue proves that trash cans and plastic chairs are “furnishings” governed by 46
             C.F.R. § 177.115(b). Pls.’ Br. 13 (citing 3‒ER‒367:21-373:23). This does not
             change the fact that, per the regulations themselves, a separate regulation governs
             trash cans, and that the “furnishings” standard does not apply to plastic deck chairs.
             See note 15, infra. Similar to Cmdr. Hodgdon, Capt. Compher’s answer was based
             on a hypothetical with extensive assumptions. See Compher Dep. at 144:8-14, 3‒
             ER‒374 (“We’re not asking what inspectors actually in real life knew. I’m asking
             you as a hypothetical, . . . and assuming that you either knew . . . .”).

                                                       35
(47 of 71), Page 47 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 47 of 71




                    Plaintiffs also argue the New T standards for “furnishings” apply. Pls.’ Br.

             53 (citing 46 C.F.R. § 177.410). Yet the New T regulations, even if they applied

             here, do not prohibit the plastic deck chairs that Plaintiffs allege Conception

             carried. See 46 C.F.R. § 177.410 (2019).15 Nor can this generic “furnishing”

             regulation be read to refer to trash cans, which are the subject of their own

             regulation. See 46 C.F.R. § 177.405(f) (2019); Caputo Dep. at 94:8-23, 2‒ER‒121.

                    Not only do Plaintiffs ignore the distinction between New T and Old T, Pls.’

             Br. 12-13, they also fail to acknowledge that grandfathering is the rule, not the

             exception. The regulatory scheme states that “an existing [Old T] vessel must

             comply with” the regulations applicable before 1996. 46 C.F.R. § 177.115 (2019).

             Section 175.112 provides that each substantive Part defines limited exceptions to

             this rule where “an existing vessel must comply with certain portions of [New T].”

             The electrical regulation cited by Plaintiffs, § 183.115, proves this point. Pls.’ Br.



                    15
                       The only requirement for “furnishings” in Subchapter T regulates those
             made of “general purpose resin,” which “must comply with 116.423 in subchapter
             K of this chapter.” 46 C.F.R. § 177.410(c)(5) (2019). But this requirement from
             Subchapter K—more rigorous regulations for larger passenger vessels—regulates
             only “upholstered furniture,” and only in “[p]assageways and stairway enclosures.”
             46 C.F.R. § 116.423 (2019). Subchapter K also allows, as an alternative,
             compliance with § 72.05-55 of Subchapter H. Id. Subchapter H contains the most
             rigorous regulations for the largest passenger vessels. Yet even that most stringent
             set of regulations similarly only requires these “fire resistant furnishings” in
             “[p]assageways and stairway enclosures.” 46 C.F.R. § 72.05-55(c) (2019). In short,
             none of these regulations prohibit non-upholstered chairs in Conception’s main
             deck lounge area that Plaintiffs repeatedly cite as a violation.

                                                       36
(48 of 71), Page 48 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 48 of 71




             12-13, 58. It restates the general rule and specifies just two requirements out of 32

             sections in Part 183 that may not be grandfathered. 46 C.F.R. § 183.115(a), (b)

             (2019). These apply to navigation and emergency lighting, which are irrelevant

             here. Id. (citing §§ 183.420, 183.430).

                    Plaintiffs also claim the Coast Guard repeatedly “failed to inspect any part of

             Conception’s electrical system.” Pls.’ Br. 56; see also id. at 18 (citing inspections

             in 2004, 2011, 2013, and 2015). In fact, the inspections they cite were hull or

             drydock inspections, which examine underwater hull structures, not electrical

             systems. Activity Summary Reports, 3‒ER‒299, 313, 329, 336 (each with “Hull”

             or “Hull Exam” as the “Title/Description”); see also 46 C.F.R. § 176.610 (2019).16

             This includes the 2013 hull inspection in which Plaintiffs allege that Chief Warrant

             Officer DeCamp cleared a deficiency—ordering replacement of non-marine-grade

             cable at the vessel’s next drydocking—without logging an inspection of the

             electrical system. Pls.’ Br. 18-19; see also Activity Summary Report, 3‒ER‒329-




                    16
                     The only exception is the 2019 annual by Chief Warrant Officer Hager,
             whose report did not list an inspection of the electrical system. He testified,
             however, that this was most likely a clerical error in logging the report, because it
             would be highly unlikely for him to do no inspection of an electrical system
             whatsoever. Hager Dep. at 129:3-132:11, 2‒ER‒116; see also Hodgdon Dep. at
             166:17-167:2, 4‒ER‒595 (to log an inspection of the electrical system, inspector
             merely need inspect any element of that system).

                                                       37
(49 of 71), Page 49 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 49 of 71




             31.17 Inspectors have discretion in how to verify that deficiencies have been

             corrected. Mr. DeCamp did not need to log a full inspection of the electrical

             system to clear a single wiring deficiency. See Hodgdon Dep. at 95:21-96:9, 97:1-

             98:17, 2‒ER‒237-40. Plaintiffs presented no evidence that Mr. DeCamp

             improperly cleared the deficiency.

                    C.      Prong Two: The Coast Guard’s Establishment and
                            Implementation of a Maritime Safety Program Is Susceptible to
                            Political, Social, and Economic Policy Analysis.

                    In the second prong of the discretionary function exception analysis, the

             Court considers whether the discretion is the kind the exception “was designed to

             shield,” i.e., those decisions that involve economic, social, or political concerns.

             Lam, 979 F.3d at 673-74. This is an objective, not subjective, analysis. The

             challenged conduct itself “need not be actually grounded in policy considerations”

             but must merely involve a decision of a “nature [that is] susceptible to policy

             analysis.” Chadd v. United States, 794 F.3d 1104, 1109 (9th Cir. 2015). “The focus

             of the inquiry is not on the agent’s subjective intent . . . but on the nature of the

             actions taken and on whether they are susceptible to policy analysis.” Lam, 979

             F.3d at 674 (quoting Gaubert, 499 U.S. at 325). The exception shields a



                    17
                      Plaintiffs attempt to have it both ways by claiming the Coast Guard never
             inspected the electrical system and “never issued any deficienc[ies],” Pls.’ Br. 56,
             but also arguing that the Coast Guard was at fault for issuing deficiencies for
             electrical wiring and improperly following up.

                                                        38
(50 of 71), Page 50 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 50 of 71




             discretionary act from judicial review, regardless of whether the employee actually

             made a policy judgment. Irving, 162 F.3d at 168; see also Cassens, 44 F.3d at 515

             (exception applied even if inspector did not make a “policy judgment” but merely

             “failed to look at the stairway and notice that there was no handrail”).

                    Where the first prong is satisfied, the United States is entitled to a “strong

             presumption” that the second prong is also satisfied. Gaubert, 499 U.S. at 324; see

             also Lam, 979 F.3d at 681 (“[I]t must be presumed that the agent’s acts are

             grounded in policy when exercising that discretion.”). At the second prong, the

             United States “has no burden of production” and “may rest . . . on the Gaubert

             presumption.” Irving, 162 F.3d 168.

                    The Coast Guard’s marine safety programs, including the inspection and

             certification decisions at issue here, balance competing policy interests in at least

             three ways: (1) balancing vessel safety with the goal of facilitating commerce;

             (2) balancing uniformity with evaluating the safety of each vessel on an individual

             basis; and (3) operating within a finite budget to accomplish numerous statutory

             missions. 14 U.S.C. § 102(3); 46 U.S.C. § 3305(d)(1).

                    First, Congress directly ordered the Coast Guard “to avoid disruption and

             undue expense to industry” in vessel inspections. 46 U.S.C. § 3305(d)(1). The

             maritime industry is critical to commerce and national security. Maritime

             Commerce Strategic Outlook, 4‒ER‒637-45. Risk is inherent—the only absolutely


                                                        39
(51 of 71), Page 51 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 51 of 71




             safe ship is one that never goes to sea. Congress granted the Coast Guard broad

             authority and flexibility to develop a certification and inspection program with

             goals of both reducing casualties and promoting shipping. The Coast Guard seeks

             “a balance between risks and costs to support the efficient flow of commerce.” Id.

             at 18, 4‒ER‒645. The Coast Guard’s goal is a “regulatory approach that strikes the

             right balance between facilitating and safeguarding commerce.” Coast Guard

             Strategic Plan 2018-2022 at 18, 4‒ER‒651. As applied to vessel inspections, these

             competing policies require that “[a] balance must be maintained between the

             requirements of safety and practical operation.” Manual Vol. 2 at A1-15, 4‒ER‒

             576. The court in Cassens quoted this same language, holding that it requires Coast

             Guard inspectors “to make choices and exercise judgment in conducting their

             inspections.” Cassens, 44 F.3d at 514. These choices “require balancing

             considerations of safety and economics” and as such “meet the second requirement

             for the application of the discretionary function exception.” Id. at 514-15 (quoting

             Gaubert, 499 U.S. at 323).

                    The second kind of policy balancing involved in the Coast Guard’s vessel

             inspection program is the need to evaluate each vessel’s unique characteristics and

             circumstances, balanced against the goal of promoting a uniform level of safety.

             Coast Guard inspectors are not expected to follow a rote, identical procedure on

             every vessel. Rather, inspectors are expected to consider each vessel individually


                                                      40
(52 of 71), Page 52 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 52 of 71




             and are given discretion to vary the attention they give to different requirements

             based on a vessel’s individual circumstances. Manual Vol. 2 at B2-1, 4‒ER‒580.

             The requirements applied to a vessel “may vary in accordance with the vessel’s

             area of operation or any other operational restrictions or limitations.” 46 C.F.R.

             § 176.800(b) (2019). The Coast Guard’s policies allow an inspector to consider the

             actual hazards faced by a particular vessel, based on its routes, capabilities, and

             other operational limits. Id.; see also 46 C.F.R. § 176.110 (2019); 46 C.F.R.

             § 175.550 (2019) (allowing “departures” from requirements when “circumstances

             or arrangements warrant such departures and an equivalent level of safety is

             provided”).

                    This discretion enables inspectors to realistically evaluate each vessel’s

             condition, thus more effectively promoting vessel safety. Subchapter T

             encompasses a wide variety of vessels and environments, ranging from small

             tenders carrying only a few people, to much larger vessels farther offshore.

             Tailoring inspections to individual vessels enables the Coast Guard to better

             evaluate the safety of each vessel. To best promote safety in each case, inspectors

             must consider “situations in which regulations that seem applicable are actually

             inappropriate for the situation or not in the best interest of overall safety.” Manual

             Vol. 2 at A2-6, 4‒ER‒577. For this reason, inspectors must “take care to ensure

             that each regulation being applied is relevant to the vessel and situation.” Id. This


                                                       41
(53 of 71), Page 53 of 71     Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 53 of 71




             discretion allows inspectors to focus on systems and requirements that, in their

             judgment, present a greater hazard or require more attention on a given vessel.

                      Both the Smith and Cassens courts recognized the reasons for this policy. In

             Smith, Coast Guard inspectors relied on the vessel’s limited area of operation in

             deciding what requirements were relevant to that vessel’s safety. 220 F. Supp. 2d

             at 282. The court found that this discretion to modify inspection standards met the

             second prong of the discretionary function test. Id. (citing 46 C.F.R. § 176.800(b)).

             In Cassens, the court found that inspectors “are required to make choices and

             exercise judgment in conducting their inspections,” which includes “balancing

             considerations of safety and economics with reference to the needs and the uses of

             the particular vessel being inspected.” 44 F.3d at 514-15; see also Indemnity Ins.

             Co. of N. Am. v. United States, 569 F.3d 175, 181 (4th Cir. 2009) (policy

             permitting inspectors to use “judgment concerning the application of inspection

             standards based on the intended use of the vessel” meets the second prong of the

             test).

                      Absent such discretion, Coast Guard inspectors would perform the same rote

             inspection on every T-boat, without considering the individual capabilities of and

             hazards faced by each vessel. This one-size-fits-none approach is not the vessel

             safety regime that Congress ordered the Coast Guard to implement, and would

             directly harm future passenger vessel safety.


                                                        42
(54 of 71), Page 54 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 54 of 71




                    Finally, the Coast Guard must balance its resources among its eleven

             statutory missions. See 6 U.S.C. § 468 (a), (c). The Coast Guard makes policy-

             based decisions about how to commit its financial, personnel, equipment, and

             training resources among these missions to best serve national priorities. See

             Strategic Plan at 8, 22, 4‒ER‒647-53. Such considerations—whether it would be

             “economically or operationally feasible” to commit Coast Guard resources to a

             particular mission—“are a proper basis for the exercise of discretion.” Tew v.

             United States, 86 F.3d 1003, 1006 (10th Cir. 1996); see also Lam, 979 F.3d at 681

             (“competing policy considerations, such as safety, budget, staffing . . . are all the

             type of policy decisions that are protected under the [discretionary function

             exception]”); Compagnie Maritime Marfret v. San Juan Bay Pilots Corp., 532 F.

             Supp. 2d 369, 382 (D.P.R. 2008) (Coast Guard decisions that balance “the needs of

             society and maritime commerce” with “the expenditure of federal funds” are

             inherently “grounded in social and economic policy”).

                    Turning to case law, Plaintiffs point to the “thorny” nature of the policy

             prong analysis, citing Whisnant and Bear Medicine. Pls.’ Br. 45. No such

             “thorniness” is present in this case, a classic discretionary function scenario.

             Whisnant arose from injuries caused by toxic mold in a grocery store on a Navy

             base. The case concerned maintenance of federal property. Whisnant v. United

             States, 400 F.3d 1177, 1184 (9th Cir. 2005). While acknowledging a lack of


                                                       43
(55 of 71), Page 55 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 55 of 71




             discretion in the government’s cleaning of its own meat department, the Ninth

             Circuit distinguished the discretion accorded to the government’s regulatory

             compliance schemes: “maximizing compliance with regulations[] and allocation of

             limited resources among competing safety-promoting tasks hardly resemble the

             type of decision Whisnant attributes to [grocery] safety personnel.” Whisnant, 400

             F.3d at 1184. Similarly, in Bear Medicine v. United States, 241 F.3d 1208, 1217

             (9th Cir. 2001), the Court applied a “design-implementation” analysis to find no

             policy basis for the BIA’s failure to oversee a contract for a timber operation on

             Indian lands held under trust.

                    This “design-implementation” distinction must be applied “cautiously” and

             only in the narrow circumstances where, as is not the case here, “a private party

             would likely be held liable for the same conduct or omission.” Gonzalez v. United

             States, 814 F.3d 1022, 1035 (9th Cir. 2016) (ruling that a broad interpretation of

             Whisnant and Bear Medicine “would simply swallow” the discretionary function

             exception); see also Lam, 979 F.3d at 683, 687 (Royal, J., concurring) (noting that

             Whisnant is not in harmony with other Ninth Circuit cases). Beyond this specific

             application, the “design-implementation” distinction made by Whisnant and Bear

             Medicine is indistinguishable from the “planning level/operational level

             dichotomy” that has otherwise been rejected by this Circuit in cases such as Begay

             v. United States, 768 F.2d 1059, 1062 n.5 (9th Cir. 1985) (rejecting the distinction


                                                      44
(56 of 71), Page 56 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 56 of 71




             “in light of the Supreme Court’s recent decision in Varig”), Gasho v. United

             States, 39 F.3d 1420, 1435 (9th Cir. 1994) (Supreme Court and Ninth Circuit

             “subsequently rejected this dichotomy”), and Terbush v. United States, 516 F.3d

             1125, 1130 (9th Cir. 2008) (discretionary protection “not confined to the policy or

             planning level”).

                    Even under its own terms, the “design-implementation” distinction does not

             apply where, as here, “the implementation itself implicates policy concerns,” such

             as when a safety inspector must “weigh various regulatory objectives in deciding

             whether to certify” a commercial aircraft. Whisnant, 400 F.3d at 1182 n.3 (citing

             GATX, 286 F.3d at 1175-77); see also Gonzalez, 814 F.3d at 1035. Cassens and

             Lam show that the discretionary function exception applies under the

             Whisnant/Gonzalez analysis, because implementation of Coast Guard vessel

             inspections implicates policy concerns. Not only has Congress vested the Coast

             Guard with high-level discretion to design a vessel safety program, so too has the

             Coast Guard vested its inspectors with significant discretion in implementing this

             program through their inspections. See Cassens, 44 F.3d at 513.

                    Further, the Supreme Court’s analysis in Varig Airlines is on point. The

             Court concluded that the acts of FAA inspectors fell under the discretionary

             function exception because the agency’s “[d]ecisions as to the manner of enforcing

             regulations directly . . . require the agency to establish priorities for the


                                                         45
(57 of 71), Page 57 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 57 of 71




             accomplishment of its policy objectives by balancing the objectives sought to be

             obtained against such practical considerations as staffing and funding.” Varig

             Airlines, 467 U.S. at 820. The Court recognized that “[w]hen an agency determines

             the extent to which it will supervise the safety procedures of private individuals, it

             is exercising discretionary regulatory authority of the most basic kind.” Id. at 819-

             20; see also Dalehite v. United States, 346 U.S. 15, 42-43 (1953) (discretionary

             function exception applied to allegations that Coast Guard negligently inspected

             the loading of a cargo ship that later caught fire and exploded because the Coast

             Guard’s actions were in furtherance of a statutory scheme that gave it discretion to

             regulate vessel loading).

                    In sum, Congress did not order the Coast Guard to conduct a rote and

             exhaustive inspection of every regulatory requirement on every vessel. E.g., 14

             U.S.C §§ 503, 504. Instead, the system relies on owners and operators to comply

             with the regulatory standards and their COIs, while the Coast Guard spot checks

             for compliance. Increasing the level of certification and inspection would require

             the Coast Guard to alter its priorities or require additional appropriations from

             Congress. This is exactly the type of policy balancing that is exempt from review

             in a tort action.




                                                       46
(58 of 71), Page 58 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 58 of 71




             II.    The Discretionary Function Exception Is Established Law.
                    In a last-ditch attempt to avoid the discretionary function exception,

             Plaintiffs raise a new argument that the exception should no longer apply to the

             SIAA, in light of the Supreme Court’s decision in Thacker v. Tennessee Valley

             Authority, 587 U.S. 218 (2019). This argument fails for at least three reasons. First,

             Plaintiffs failed to raise this argument below and offer no compelling reasons it

             should not be considered forfeited. Second, Plaintiffs’ argument would require this

             court to overrule precedent long established in this Circuit and in every other

             Circuit to consider the issue. Third, Thacker, the primary case on which Plaintiffs

             rely, deals with a different statute and expressly allows for an implied exception

             for discretionary government acts.

                    A.      Plaintiffs Offer No Reason They Did Not Raise This Issue Below
                            and Have Thus Waived Their Right to Raise It Now.

                    “It is hornbook law that theories not raised squarely in the district court

             cannot be surfaced for the first time on appeal.” Wood v. Milyard, 566 U.S. 463,

             470 (2012) (quoting McCoy v. Mass. Inst. of Tech., 950 F.2d 13, 22 (1st Cir. 1991)

             (issue plaintiff failed to raise in opposition to motion to dismiss was “procedurally

             defaulted” on appeal; a “plaintiff has an affirmative responsibility to put [their]

             best foot forward in an effort to present some legal theory that will support [their]

             claim”)). The Ninth Circuit will not review an issue “not submitted to [the district




                                                       47
(59 of 71), Page 59 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 59 of 71




             judge] and upon which he has had no opportunity to pass.” Line Ins. Co. of N. Am.

             v. Reichardt, 591 F.2d 499, 505-06 (9th Cir. 1979).

                    Plaintiffs cite Thompson v. Runnels, which held that an appeals court is not

             limited to “the precise arguments [parties] made below” in deciding a claim. 705

             F.3d 1089, 1098 (9th Cir. 2013). However, this applies “[o]nce an issue or claim is

             properly before the court,” the proponent having “fairly presented the substance

             of” his or her claim. Id. at 1095, 1098. The Supreme Court’s opinion in Yee is

             illustrative of this threshold. Yee v. Escondido, 503 U.S. 519 (1992). In that case,

             plaintiffs challenged an action as a physical taking. On petition to the Supreme

             Court, they argued for the first time that it was also a regulatory taking. Id. at 533-

             34. The Court did not consider this claim because it was not “fairly included []in”

             the issues raised below. Id. at 537. The regulatory taking claim was merely

             “related to” the physical taking claim, but the two “exist side by side, neither

             encompassing the other.” Id. Deciding “whether a regulatory taking occurred

             would not assist in resolving whether a physical taking occurred.” Id.

                    As a “narrow exception to the general rule,” a court “may consent to

             consider” an issue raised on appeal that “is purely one of law.” United States v.

             Patrin, 575 F.2d 708, 712 (9th Cir. 1978). Even so, the Court “will only excuse a

             failure to comply with this rule when necessary to avoid a manifest injustice.”

             Greger v. Barnhart, 464 F.3d 968, 973 (9th Cir. 2006). The Court thus will


                                                       48
(60 of 71), Page 60 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 60 of 71




             generally not exercise its discretion to consider an issue not raised below “[a]bsent

             exceptional circumstances.” G & G Prods., LLC v. Rusic, 902 F.3d 940, 950 (9th

             Cir. 2018). An “unexplained failure to raise an argument that was indisputably

             available below is perhaps the least ‘exceptional’ circumstance warranting [the]

             exercise of this discretion.” Id.

                    Yet Plaintiffs here do exactly that: raise on appeal an issue “indisputably

             available” to them below. Plaintiffs argue that because it is a “legal issue” this

             Court has discretion to consider it. But they base their argument primarily on

             Thacker, decided five years prior to the briefing on the United States’ motion to

             dismiss below. Before that, Plaintiffs were afforded seven months of discovery and

             multiple extensions to the briefing schedule at their request. They have shown no

             “exceptional circumstances” to excuse their failure to raise the issue below.18 They

             offer no reason at all, except to assert baselessly that it is “of no moment” that they

             did not. Pls.’ Br. 41. Accordingly, the new claim should be deemed forfeited.

                    Plaintiffs cite four cases, all of which present different procedural postures

             and legal questions than here. In Thompson v. Runnels, the plaintiff claimed that

             police violated his Fifth Amendment rights; this claim depended on what



                    18
                       In opposition to the motion to dismiss below, Plaintiffs argued three
             issues: that the motion should be decided on a summary judgment standard; that
             Plaintiffs needed further discovery to oppose the motion; and, on the merits, that
             the challenged conduct was not discretionary. 2‒ER‒144-45.

                                                       49
(61 of 71), Page 61 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 61 of 71




             constituted “clearly established federal law” at the time. 705 F.3d at 1094. The suit

             was pending in state court when the Supreme Court issued a new controlling

             decision. Id. Because the plaintiff had at least “fairly presented the substance of his

             claim,” the Ninth Circuit considered the new decision as part of an argument that

             was “properly before the court.” Id. at 1095, 1098. That is not the case here.

             Plaintiffs never put the SIAA’s implied discretionary function exception “properly

             before the court.” Plus, the Thompson court’s decision was an exception to the rule

             that it would “generally take care to avoid the unfairness inherent in deciding cases

             on bases not raised or passed upon in the tribunal below.” Id. at 1099.

                    Second, Plaintiffs rely on United States v. Alameda Gateway, 213 F.3d 1161

             (9th Cir. 2009). In that case, the United States sued for the cost to remove an

             obstruction from a navigable waterway; defendants alleged that the agency ignored

             its own regulation in removing the obstruction. Id. at 1164, 1167. The court

             considered an argument not raised below: that the regulation did not have the force

             of law and was not binding on the agency. Id. at 1167. The court was required to

             review that issue first to avoid “the unsavory prospect of reviewing a regulation . . .

             which our case law specifically precludes us from reviewing.” Id. at 1168. That is

             not the case here. This Court is not precluded from deciding the merits of the

             discretionary function question without considering Plaintiffs’ untimely new

             argument.


                                                       50
(62 of 71), Page 62 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 62 of 71




                    Plaintiffs also cite U.S. Nat’l Bank of Or. v. Indep. Ins. Agents of Am., 508

             U.S. 439 (1993). This involved a particularly unusual question of law—if the

             statute the parties relied on had been “inadvertently repealed” decades prior—even

             though neither party raised the issue below. Id. at 444. The Supreme Court held

             that the court did not err in considering the issue: given “honest doubt about

             whether [the statute] existed as a law,” the court “need not render judgment on the

             basis of a rule of law whose nonexistence is apparent on the face of things.” Id. at

             447. Plaintiffs here do not question whether a statute exists; they simply disagree

             with a 50-year body of law interpreting that statute.

                    Lastly, in Lebron v. Nat’l R.R. Passenger Corp., the plaintiff sued Amtrak,

             alleging interference with his First Amendment rights. 513 U.S. 374, 377 (1995).

             The plaintiff originally claimed only that Amtrak’s “close ties” to the government

             imposed a First Amendment duty. Id. At the Supreme Court, he argued that

             Amtrak was, in fact, a government agency. Id. at 379. The Court allowed this new

             argument as “not a new claim,” but simply “a new argument to support . . . his

             consistent claim” that Amtrak was bound by the First Amendment. Id. at 379.

             Because the issues shared elements and were “dependent upon many of the same

             fact[s],” the new argument was “fairly embraced within the question” raised below.

             Id. at 379, 382. The court distinguished Yee, supra, wherein the two issues were

             “two distinct questions,” neither of which was “included” in the other. Id. at 381.


                                                       51
(63 of 71), Page 63 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 63 of 71




             Here, Plaintiffs’ argument about the construction of the SIAA is not “fairly

             embraced within” their claim below that the Coast Guard’s conduct was not

             discretionary per the applicable policies, nor are the facts of the discretionary

             function issue relevant to the construction and history of the SIAA necessary to

             decide the new argument.

                    B.      The SIAA’s Implied Discretionary Function Exception Is the
                            Established Law of This and Every Other Circuit to Consider It.

                    The Ninth Circuit’s decision in Earles is the established law of this Circuit.

             935 F.2d 1028 (9th Cir. 1991). In that case, a jet ski crashed into a Navy buoy,

             killing five persons and injuring four more. Id. at 1030. The plaintiffs alleged the

             Navy negligently failed to illuminate the buoy. Id. The district court ruled that the

             discretionary function exception did not apply to claims under the SIAA. Id. The

             Ninth Circuit reversed, holding that the discretionary function exception applies to

             the SIAA, based on the doctrines of sovereign immunity and separation of powers.

             Id. at 1032, 1030 (citations omitted). The doctrine of sovereign immunity “is a

             doctrine to which the courts must adhere even in the absence of an explicit

             statutory command.” Id. at 1030 (quoting In re Joint E. & S. Dists. Asbestos Litig.,

             891 F.2d 31, 35 (2d Cir. 1989)). Prior to enacting the FTCA, Congress “believed

             that claims of the kind embraced by the discretionary function exception would

             have been exempted from the waiver of sovereign immunity by judicial

             construction” regardless of any statutory exception; thus, the FTCA’s express

                                                       52
(64 of 71), Page 64 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 64 of 71




             exception “was drafted merely as a ‘clarifying amendment.’” Earles, 935 F.2d at

             1031 (quoting In re Asbestos Litig., 891 F.2d at 354). There is no conflict among

             Circuits on this point. Every Circuit to address the question has concluded that the

             SIAA’s waiver of sovereign immunity includes an implied discretionary function

             exception.19 Nonetheless Plaintiffs urge a “wholesale retreat from a body of law

             that has been developed and refined over the course of almost fifty years.”

             McMellon v. United States, 387 F.3d 329, 349 (4th Cir. 2004).

                    The Circuit is bound by its own precedent absent higher intervening

             authority. Miller v. Gammie, 335 F.3d 889 (9th Cir. 2003) (en banc). A three-judge

             panel cannot overrule a prior panel’s decision based on later Supreme Court

             precedent unless the prior decision is irreconcilable with the new precedent. Id. at

             900. There is no such conflict here; Plaintiff’s new argument applies only to

             circumstances quite different from this case. See below.


                    19
                      Canadian Transp. Co. v. United States, 663 F.2d 1081, 1086 (D.C. Cir.
             1980); Gercey v. United States, 540 F.2d 536, 539 (1st Cir. 1976), cert. denied,
             430 U.S. 954 (1977); In re Joint E. & S. Dists. Asbestos Litig., 891 F.2d 31, 35 (2d
             Cir. 1989); Sea-Land Serv., Inc. v. United States, 919 F.2d 888, 891 (3d Cir. 1990),
             cert. denied, 500 U.S. 941 (1991); McMellon v. United States, 387 F.3d 329, 349
             (4th Cir. 2004) (en banc), cert. denied, 544 U.S. 974 (2005); Wiggins v. United
             States, 799 F.2d 962, 966 (5th Cir. 1986); Graves v. United States, 872 F.2d 133,
             137 (6th Cir. 1989) (citing Chotin Transp., Inc. v. United States, 819 F.2d 1342,
             1347 (6th Cir. 1987) (en banc), cert. denied, 484 U.S. 953 (1987)); Bearce v.
             United States, 614 F.2d 556, 559-560 (7th Cir. 1980), cert. denied, 449 U.S. 837
             (1980); Earles, supra; Tew v. United States, 86 F.3d 1003, 1005 (10th Cir. 1996);
             Drake Towing Co. v. Meisner Marine Constr. Co., 765 F.2d 1060, 1063-1064
             (11th Cir. 1985).

                                                      53
(65 of 71), Page 65 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 65 of 71




                    C.      Thacker Has No Bearing on the Facts or Issues Presented Here.

                    The primary case upon which Plaintiffs rely for their new, untimely

             argument is Thacker. Pls.’ Br. 38-41. But the Thacker opinion does not deal with

             the SIAA’s implied discretionary function exception, nor the Coast Guard or any

             similar agency. Rather, the defendant in Thacker was the Tennessee Valley

             Authority (“TVA”), a hybrid government-commercial corporation with a unique

             enabling statute, the Tennessee Valley Authority Act (“TVA Act”), 16 U.S.C. §

             831 et seq. Thacker, 587 U.S. at 220-221.

                    The TVA Act established the TVA as a “sue and be sued” entity, creating a

             waiver of sovereign immunity unrelated to the SIAA. Id. at 221 (quoting 16 U.S.C.

             § 831c(b)). In holding that this waiver did not include an exception for the TVA’s

             discretionary commercial conduct, the Thacker court relied heavily on its decision

             in Fed. Housing Admin. v. Burr. Id. at 224 (citing 309 U.S. 242 (1940)). The Burr

             decision held that sue-and-be-sued clauses “should be construed liberally.” 309

             U.S. at 245-246. This is unlike traditional waivers of sovereign immunity, like the

             SIAA, which must be “construed strictly in favor of the sovereign.” McMahon v.

             United States, 342 U.S. 25, 27 (1951). Later, when Congress passed the FTCA, it

             again “made a considered decision not to apply the FTCA”—and its limitations—

             to the TVA’s pre-existing waiver of immunity. Thacker, 587 U.S. at 225.




                                                       54
(66 of 71), Page 66 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 66 of 71




                    The Thacker-Burr analysis is unique to sue-and-be-sued clauses and entities

             and is inapplicable to the SIAA or any other waivers of sovereign immunity. Nor is

             the Coast Guard a sue-and-be-sued corporation; it is a branch of the armed forces.

             14 U.S.C. § 101. Thacker thus has no bearing on whether the SIAA waives

             sovereign immunity for the Coast Guard’s discretion in its regulatory oversight

             role. It plainly did not overrule 50 years of jurisprudence from every circuit that

             has repeatedly held the discretionary function exception to apply to SIAA cases.

             Additionally, even if this case involved a sue-and-be-sued statute and the Thacker-

             Burr analysis applied, Thacker expressly left open the possibility that sovereign

             immunity would still apply to the exercise of government functions, exactly what

             Plaintiffs here argue it precluded. 587 U.S. at 229.

             III.   Plaintiff’s Procedural Arguments Are Flawed and Unsupported.
                    Plaintiffs tack two meritless procedural arguments onto the end of their

             brief. First, they argue that the court below applied the wrong standard to decide

             the motion. Pls.’ Br. 68-70. They argue that because there are “factual disputes” as

             to the regulations and policies governing Coast Guard inspections, the court should

             have used a summary judgment standard. Yet Plaintiffs’ own brief shows that the

             court applied the correct Rule 12(b)(1) standard, because the United States brought

             a factual attack. In a factual attack, disputed facts do not preclude dismissal; the

             court “evaluate[s] for itself the merits” and may “resolv[e] factual disputes.” Pls.’



                                                       55
(67 of 71), Page 67 of 71      Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 67 of 71




             Br. 69. The parties specifically agreed, and the court ordered, that the discretionary

             function defense should be a Rule 12(b)(1) motion.20 1–ER–4, Pls.’ Br. 25; Order,

             SER–11-13; Joint Admin Mot., SER–14-21.

                    Second, Plaintiffs argue that they needed additional discovery to oppose the

             motion to dismiss. Plaintiffs had seven months of discovery—deposing six Coast

             Guard officials and obtaining over 3,900 pages of documents—into the

             discretionary function, the only issue at this stage. Plaintiffs additionally had the

             burden to show specific additional facts they expected to discover that were

             “essential to oppose summary judgment.” 1‒ER‒4 (quoting Family Home & Fin.

             Ctr., Inc. v. Fed. Home Loan Mortg. Corp., 525 F.3d 822, 827 (9th Cir. 2008)).

             Plaintiffs failed to carry that burden below, and they fail here.

                    Plaintiffs say they seek physical evidence recovered from the scene of the

             fire. Pls.’ Br. 73. They also seek attachments containing data underlying the ATF

             report they obtained in discovery. Id. at 28.21 None of this is relevant. The scope of


                    20
                       Plaintiffs additionally argued below that the motion must be decided on a
             summary judgment standard because the merits of their claim are “intertwined”
             with the subject matter jurisdiction question. 2‒ER‒167. Not so. This doctrine
             applies only when the same statute provides both the source of subject matter
             jurisdiction and the substantive cause of action. Here, the SIAA provides only the
             “jurisdictional hook,” not the cause of action, which is common law negligence.
             Dearborn v. Mar Ship Operations, Inc., 113 F.3d 995, 996 n.1 (9th Cir. 1997); see
             also Chadd, 794 F.3d at 1111-12 (analysis of discretionary function is “distinct
             from . . . the merits”).
                    21
                         Plaintiffs obtained the report itself, including its conclusions.

                                                           56
(68 of 71), Page 68 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 68 of 71




             the discretionary function inquiry is limited to “the applicable government

             policies” and whether “they authorize or imply discretion,” not how those policies

             were carried out here. Lam, 979 F.3d at 673 n.3 (“all that matters is that there was,

             in fact, discretion”); see also Ignatiev v. United States, 238 F.3d 464, 467 (D.C.

             Cir. 2001) (“the only discovery necessary to establish jurisdiction pertains not to

             the facts of the governmental action but to existence vel non of internal

             governmental policies guiding that action”). The ATF report is on “the origin and

             cause” of the fire, not how the Coast Guard inspected the vessel months or years

             prior. Plaintiffs have not explained why its attachments would discuss Coast Guard

             inspection policies. Nor is the physical evidence from the vessel relevant. It has no

             impact on the discretionary function issue because none of the relevant policies

             impose a mandatory duty to inspect those items during any given inspection, much

             less a mandatory duty to find any of them to be a violation—as the district court

             found as a matter of fact.

                                               CONCLUSION

                    For the foregoing reasons, the district court’s decision should be affirmed.

             DATED: April 23, 2025

                                                    Respectfully submitted,

                                                    BILAL A. ESSAYLI
                                                    United States Attorney



                                                       57
(69 of 71), Page 69 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 69 of 71




                                                    DAVID M. HARRIS
                                                    Assistant United States Attorney
                                                    Chief, Civil Division

                                                    YAAKOV M. ROTH
                                                    Acting Assistant Attorney General

                                                    GERARD SINZDAK
                                                    Assistant Director, Appellate Staff
                                                    Civil Division
                                                    /s Jill Rosa__________________
                                                    ERIC KAUFMAN-COHEN
                                                    Attorney in Charge, West Coast Office
                                                    JILL DAHLMANN ROSA
                                                    Senior Trial Counsel
                                                    SCOTT PERRYGO
                                                    Trial Attorney
                                                    U.S. Department of Justice
                                                    Civil Division, Torts Branch

                                                    Attorneys for United States of America




                                                      58
(70 of 71), Page 70 of 71   Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 70 of 71




                                UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT


                  Form 17. Statement of Related Cases Pursuant to Circuit Rule 28-2.6
                                       Instructions for this form:
                        http://www.ca9.uscourts.gov/forms/form17instructions.pdf

             9th Cir. Case Number(s): 24-5064

             The undersigned attorney or self-represented party states the following:

             [ ] I am unaware of any related cases currently pending in this court.

             [ x ] I am unaware of any related cases currently pending in this court other than
                  the case(s) identified in the initial brief(s) filed by the other party or parties.

             [ ] I am aware of one or more related cases currently pending in this court. The case
                 number and name of each related case and its relationship to this case are:



             Signature s/ Jill Rosa___________ Date April 23, 2025______
             (use “s/[typed name]” to sign electronically filed documents)




                                                       59
(71 of 71), Page 71 of 71    Case: 24-5064, 04/23/2025, DktEntry: 38.1, Page 71 of 71




                                  UNITED STATES COURT OF APPEALS
                                       FOR THE NINTH CIRCUIT


                                  Form 8. Certificate of Compliance for Briefs
                                           Instructions for this form:
                            http://www.ca9.uscourts.gov/forms/form08instructions.pdf

             9th Cir. Case Number(s) 24-5064

                    I am the attorney or self-represented party.

                    This brief contains 13,909 words, including 0 words manually counted in

             any visual images, and excluding the items exempted by FRAP 32(f). The brief’s

             type size and typeface comply with FRAP 32(a)(5) and (6).

                    I certify that this brief (select only one):

             [ x ] complies with the word limit of Cir. R. 32-1.

             [ ] is a cross-appeal brief and complies with the word limit of Cir. R. 28.1-1.

             [ ] is an amicus brief and complies with the word limit of FRAP 29(a)(5), Cir. R.
                29-2(c)(2), or Cir. R. 29-2(c)(3).

             [ ] is for a death penalty case and complies with the word limit of Cir. R. 32-4.

             [ ] complies with the longer length limit permitted by Cir. R. 32-2(b) because (select
                 only one):
                    [ ] it is a joint brief submitted by separately represented parties.
                    [ ] a party or parties are filing a single brief in response to multiple briefs.
                    [ ] a party or parties are filing a single brief in response to a longer joint brief.

             [ ] complies with the length limit designated by court order dated _____________.

             [ ] is accompanied by a motion to file a longer brief pursuant to Cir. R. 32-2(a).


             Signature s/ Jill Rosa___________ Date April 23, 2025____
             (use “s/[typed name]” to sign electronically filed documents)

                                                         60
